Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 1 of 106




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


                                    Case No. 20-81063-CIV-SMITH


   STEVE HARTEL, Individually and on Behalf                CONSOLIDATED CLASS ACTION
   of All Others Similarly Situated,                       AMENDED COMPLAINT

                           Plaintiff,
                                                           JURY TRIAL DEMANDED
                   v.

   THE GEO GROUP, INC., GEORGE C.
   ZOLEY, BRIAN R. EVANS, J. DAVID
   DONAHUE, and ANN M. SCHLARB,

                           Defendants.



         Lead Plaintiffs James Michael DeLoach (“DeLoach”) and Edward Oketola (“Oketola”)

  (together, “Lead Plaintiffs”), individually and on behalf of all others similarly situated hereby bring

  this Consolidated Class Action Complaint (the “Complaint”) against The Geo Group, Inc. (“GEO”

  or the “Company”), George C. Zoley (“Zoley”), Brian R. Evans (“Evans”), J. David Donahue

  (“Donahue”), and Ann M. Schlarb (“Schlarb”) (collectively, “Defendants”). The allegations herein

  are based on Lead Plaintiffs’ personal knowledge as to their own acts and on information and belief

  as to all other matters, such information and belief having been informed by the investigation

  conducted by and under the supervision of counsel, which includes a review of: U.S. Securities

  and Exchange Commission (“SEC”) filings by GEO; securities analysts’ reports and advisories

  about the Company; press releases and other public statements issued by the Company; and media

  reports about the Company. Counsel’s investigation into the matters alleged herein is ongoing and

  many relevant facts are known only to Defendants or are exclusively within their custody or

  control. Lead Plaintiffs’ investigation indicates substantial additional evidentiary support will exist
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 2 of 106




  for the allegations set forth herein after a reasonable opportunity for discovery.

  I.     NATURE OF THE ACTION

         1.      This is a federal securities class action on behalf of all persons and entities who

  purchased or otherwise acquired GEO common stock during the period from November 7, 2018

  to August 5, 2020, inclusive (the “Class Period”), and were damaged thereby. The action is brought

  against GEO and certain of its officers and directors for violations of the Securities Exchange Act

  of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated thereunder.

         2.      Founded in 1984, GEO is purportedly the first fully integrated equity real estate

  investment trust (“REIT”) specializing in the design, financing, development, and operation of

  secure facilities, processing centers, and community reentry centers. It operates internationally,

  with over 127 facilities in the U.S., Australia, South Africa, and the United Kingdom. GEO is also

  purportedly a leading provider of enhanced in-custody rehabilitation, post-release support,

  electronic monitoring, and community-based programs. The Company’s worldwide operations

  include the ownership and/or management of, among other facilities, private prisons, detention

  centers and halfway houses in the U.S. Simply put, GEO is a leader in the private prison business.

         3.      At the time GEO restructured to become a REIT in 2013, there was significant room

  to grow because the U.S. had the largest prison population in the world and private prisons

  represented less than 10% of a $74 billion market. But the private prison model has always had

  critics and controversies, including public outcry about how inmates were treated and accusations

  that the government guaranteed high occupancy rates when it awarded a contract. In addition,

  historically, the profitability of private prisons decreased in recessions with fewer arrests made

  and when changes in governments disfavored private prisons.

         4.      After becoming a REIT, GEO was required to distribute at least 90% of its income

  each year as dividends to shareholders. That structure has allowed GEO to avoid corporate-level


                                                    2
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 3 of 106




  taxation, because its shareholders are taxed on the dividends. As a consequence, GEO has had

  limited funds with which to run its operations and has had to rely on the capital markets to fund

  growth investments. Accordingly, GEO’s continued success—as well as that of peer companies,

  like CoreCivic, Inc. (“CoreCivic”)—depended on lucrative financing deals with large banks like

  JPMorgan Chase Co. (“JPMorgan”), Wells Fargo & Company (“WF”), and Bank of America

  Corporation (“BofA”), on top of maintaining stable, revenue-generating contracts with federal,

  state, and local governments. Those financing deals and government contracts, in turn, required

  GEO to comply with a host of regulatory requirements while maintaining standards of due process

  and human rights.

         5.      A key signal to investors that GEO was in fact successfully operating its facilities

  and obtaining sufficient capital from lenders was a stable, predictable dividend. In order for GEO

  to sustain or increase its stock price or dividend levels, it was critical that the Company maintain

  and operate an increasing number of profitable prisons and detention facilities that were also safe,

  effective, and legally-compliant. A stable dividend reflected solid business performance and

  ensured that GEO’s stock price maintained or increased in value.

         6.      Going into the Class Period, JPMorgan was far and away the largest lender to

  private prison behemoths GEO and CoreCivic, holding $254 million of their debt as of June 2017.1

  WF and BofA also provided revolving credit, term loans, and bond underwriting to GEO (and

  CoreCivic), helping them fund facility construction and general operations. But in 2018 while

  JPMorgan, BofA, and WF raised over $1.8 billion in debt for GEO and CoreCivic, activists who

  had long been campaigning the banks to stop funding the private prison industry gained



  1
    Morgan Simon, In Wake of Wells Fargo Hearing, Private Prison Stocks Take Big Hit (Mar. 15, 2019),
  https://www.forbes.com/sites/morgansimon/2019/03/15/in-wake-of-wells-fargo-hearing-private-prison-
  stocks-take-big-hit/?sh=b9ff3e71a3b5.


                                                   3
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 4 of 106




  momentum after the Trump administration adopted the Zero Tolerance Policy on immigration in

  April 2018.

         7.      The concomitant scrutiny on GEO was substantial. For example, the activism

  prompted the Teachers’ Retirement Board of the California State Teachers’ Retirement System

  (“CalSTRS”) to conduct a 5-month investigation beginning in July 2018 involving visits to GEO’s

  detention facilities and meetings with senior management. CalSTRS ultimately divested all of its

  holdings in GEO. At the same time, GEO was facing multiple class actions that posed “a

  potentially catastrophic risk to GEO’s ability to honor its contracts with the federal government”

  and to continue receiving revenue from those facilities. Indeed, Defendant Zoley indicated to U.S.

  Immigration and Customs Enforcement (“ICE”) that he was “deeply alarmed” about the “tens of

  millions” in potential damage exposure and the “rapidly increasing” expenses to defend the

  lawsuits, estimating in May 2018 that the cost could be as much as $20 million. That considerable

  financial exposure would erode GEO’s net income, which in 1Q18, for example, had been only

  $34.9 million. In other words, the amount of liability faced by GEO could immediately eradicate

  57% of GEO’s quarterly profit. Defendant Zoley was right to be “deeply alarmed.” There was an

  existential threat to GEO’s profitability and dividends. Worse yet, the pressures and exposure that

  GEO faced as of May 2018 were growing more severe.

         8.      Yet, throughout the Class Period, Defendants did not reveal those fundamental facts

  to investors and instead misrepresented GEO’s stability and publicly portrayed the company in a

  materially misleading light. In November 2018, when the Class Period begins, Defendants

  maintained the appearance of business as usual, i.e., that their financing deals with big banks and

  contracts with governments would continue as a matter of course. On November 7, 2018 and

  February 14, 2019, Defendants touted that GEO’s dividend continued to be supported by stable




                                                  4
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 5 of 106




  and “predictable operational cash flows.” (¶¶109-110).2 Defendants also confirmed the

  Company’s liquidity of $374 million on November 7, 2018 and $350 million on February 14, 2019

  “in available capacity under our revolving credit facility in addition to and accordion feature of

  $450 million under our credit facility.”

            9.      Further, on November 7, 2018, while acknowledging the results of the mid-term

  elections that resulted in a Democratically controlled House of Representatives (a party historically

  opposed to private prisons), Defendant Zoley reminded investors of GEO’s “three-decade-long

  record in providing high-quality services under both Democratic and Republican administrations

  at the federal and state levels” and assured them that GEO has “consistently helped our

  government partners meet their correctional and detention challenges with the development and

  operation of state-of-the-art facilities providing services in safe, secure and humane

  environments,” noting that its “facilities are under constant operational scrutiny by onsite

  government monitors and special inspections by government agencies and third-party accrediting

  organizations.” (¶¶107). In truth, GEO was facing increased scrutiny from its lenders about its

  ability to continue to be profitable under the increasingly charged political climate.

            10.     But after the market opened on March 5, 2019, the truth began leaking out that

  GEO’s financing relationships had cracked under the intense public and political scrutiny, thereby

  limiting GEO’s access to capital. That day, Bloomberg published an article entitled “JPMorgan

  Ends Financing of Private Prisons After Criticism” and Reuters reported that “JPMorgan Chase &

  Co has decided to stop financing private operators of prisons and detention centers, which have

  become targets of protests over Trump administration policies.” Then, on March 10, U.S. Bank

  announced that it had reduced its credit exposure to GEO and CoreCivic to “an immaterial amount”



  2
      Unless otherwise noted, internal citations are omitted, and emphasis is added throughout.


                                                        5
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 6 of 106




  and on March 12, in response to New York Congresswoman Alexandra Ocasio-Cortez grilling WF

  Chief Executive Officer (“CEO”) Timothy Sloan about its financing of private prison companies

  like GEO, he responded, “[w]e will exit that relationship.” Because of these revelations—

  indicating that the Company’s cashflows, operations, profits, (and therefore) dividends were no

  longer predictable or stable—GEO’s share price fell over 11% on March 8, 2019, and another 5%

  on March 14, 2019, after heavy trading. As Forbes reported the next day, “[t]he stocks of private

  prison leaders GEO Group and CoreCivic are down 16% and 8%, respectively today since last

  Tuesday — the day when the country’s largest bank, JPMorgan Chase, publicly announced that

  they will take their money out of the private prison industry[.]”

         11.     Despite the uncertainty of where GEO would obtain future financing when the

  public prison industry was under heightened scrutiny, Defendants continued to misleadingly assure

  investors of “the stability of our cash flows and the sustainability of our annual dividend

  payments” on April 13, 2019 and July 30, 2019. (¶¶132-151). Such scrutiny increased after the

  U.S. Department of Homeland Security’s (“DHS”) internal watchdog, the Office of Inspector

  General (“OIG”), issued reports in May, June, and July 2019 revealing several detention centers,

  including multiple GEO facilities, were operating in violation of government standards and called

  for immediate action to address the substandard conditions, inadequate medical care, and

  overcrowding at these facilities. The scrutiny increased again after U.S. Senator Elizabeth Warren

  published her July 24, 2019 letter to the SEC Chairman, calling attention to “a series of misleading

  public statements and omissions of material facts by top executives of The GEO Group, Inc.”

  and highlighting the stark difference between the Company’s public statements expressing

  confidence in its financial position and its non-public communications by corporate executives,

  including Defendant Zoley, regarding the Company’s growing financial concerns.




                                                   6
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 7 of 106




         12.     Yet Defendants denied the reporting as false and even doubled down by claiming

  that GEO was doing so well that it would be able to deleverage. Specifically, on July 30, 2019,

  Defendant Zoley addressed “the recent media stories regarding overcrowded border patrol

  facilities and financial institutions discontinuing future financial support for private operators of

  ICE Processing Centers,” unequivocally debunking them as being “driven by a false narrative and

  deliberate mischaracterization of our long-standing role as a quality service provider to ICE.”

  (¶¶146, 159). He further assured investors that GEO’s “growing earnings will allow us to naturally

  deleverage, while providing support for our annual dividend payments, which we expect to

  remain unchanged.” (¶¶151-152, 162).

         13.     That same day, the New York Times ran a story entitled “Edelman, Public Relations

  Giant, Drops Client Over Border Detention Centers.”3 The Times reported that “GEO Group . . .

  was being battered by negative media attention in the uproar over reports that the United States

  was separating migrant children from their parents at the Mexican border. Lawmakers were

  demanding access to detention facilities.” According to “several employees” Edelman dropped

  GEO as a client because GEO’s reputation was so bad, Edelman was concerned its own reputation

  would be stained by any affiliation with GEO. See id. Defendant Zoley did not respond to the

  Times request for an interview. Id.

         14.     By early August 2019, eight banks – including JPMorgan, BofA, WF, SunTrust

  Banks, Inc. (“SunTrust”), BNP Paribas SA (“BNP”), Fifth Third Bancorp (“Fifth Third”), Barclays

  Plc (“Barclays”) and PNC Bank (“PNC) – said they would no longer lend to private prisons,



  3
    Tiffany Hsu, NY Times, Edelman, Public Relations Giant, Drops Client Over Border Detention Centers
  (July 20, 2019), https://www.nytimes.com/2019/07/30/business/edelman-geo-border-
  detention.html#:~:text=In%20a%20statement%20to%20The,clients%2C%E2%80%9D%20the%20statem
  ent%20said.&text=Edelman%20has%20touted%20its%20strong,tobacco%2C%20coal%20or%20firearm
  s%20businesses (last visited Nov. 17, 2020).


                                                   7
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 8 of 106




  including GEO (and CoreCivic). Together, these eight banks represented an estimated $2.35

  billion, or 87.4%, of the credit lines and term loans that previously had been available to GEO and

  CoreCivic to fund their operations and growth. Notably, there were no other banks which had a

  public-disclosed financing relationship with GEO. Then, in October 2019, California Governor

  Gavin Newsom signed a bill committing “not to enter into a contract with a private, for profit

  prison facility located in or outside the state.”4

             15.     Despite these mounting pressures, on November 5, 2019, Defendants once again

  assured investors that the intense scrutiny was not impacting GEO’s cash flows or dividend levels.

  Defendant Zoley specifically reiterated that “this volatility has been driven by a false narrative

  and deliberate mischaracterization of our long-standing role as a quality service provider to ICE,”

  “[t]here has been a significant amount of misinformation regarding our banking partners and

  access to capital,” and “growing earnings and cash flows will allow us to deleverage while

  providing support for our annual dividend payments which we expect to remain unchanged.”

             16.     By 2020, GEO’s circumstances had deteriorated further. The global COVID-19

  pandemic was clearly making its way across the U.S., and GEO was wholly unequipped. GEO had

  previously failed to implement adequate preventative and safety measures to deal with infectious

  diseases in its facilities, leading to massive, lengthy outbreaks and quarantines and exposing the

  Company to numerous costly lawsuits. Yet GEO had not updated its measures and was no better

  equipped against COVID-19. The already-imminent threats to the Company’s cash flows and

  dividends would only exacerbate, particularly as political scrutiny of the prison industry continued.

  However, Defendants continued concealing the truth from investors.

             17.     Specifically, as the COVID-19 crisis unfolded, Defendants said nothing about its


  4
      California Assembly Bill 32, Detention facilities: private, for-profit administration services,
      (last visited Nov. 17, 2020).


                                                          8
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 9 of 106




  likely negative impact on the Company’s cash flows and dividend payment. Instead, on February

  12, 2020, Defendant Evans maintained that GEO “continue[s] to enjoy access to capital with

  several dozens of lenders and financial institutions” and its “dividend payments continue to be

  supported by our cash flows and earnings.”

          18.      Defendant Evans made this statement despite Delaware County officials

  commissioning a study in February 2020 to determine what was needed to transition

  Pennsylvania’s only private prison back to being publicly run. The contract, that GEO terminated

  4 years early (and at a loss of 80% of expected revenue), was a five-year $259 million contract.

          19.      In the wake of that silence, and rising public concern over COVID-19, multiple

  senators sent a public letter to GEO on March 9, 2020 after the market closed, pressing for

  information about the policies and procedures the Company had “in place to prepare for and

  manage a potential spread of the novel coronavirus among federal prisoners in GEO’s custody and

  among correctional staff at GEO facilities.” In addition, the letter noted that “incarcerated

  individuals ‘are at special risk of infection, given their living situations.’”

          20.      In response to the revelation on March 9, 2020, regarding the special risk of

  COVID-19 in GEO’s facilities and on March 10 regarding GEO’s loss of a contract worth over

  $200 million in future revenue, the Company’s share price plummeted over 29% after two days of

  heavy trading.

          21.      Nonetheless, Defendants continued to assure investors that GEO’s cashflows and

  dividend levels would remain the same and that they were equipped for COVID-19. On April 30,

  2020, Defendants falsely or misleadingly stated that:

          •     “[f]rom the outset of the COVID-19 global pandemic our corporate, regional and field
                staff have implemented comprehensive steps to address and mitigate the risks of
                COVID-19 to all those in our care and our employees;”

          •     “[a]ll of our facilities operate safely and without overcrowded conditions;”


                                                     9
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 10 of 106




          •     “most of our facilities have had very few or no cases of COVID-19;”

          •     we had “implementat[ed] . . . quarantine and cohorting procedures to isolate
                confirmed and presumptive cases of COVID-19, including medical isolation and the
                use of airborne infection isolation rooms;”

          •     we had deployed “specialized sanitation teams to sterilize high-contact areas of our
                facilities and have developed intensive schedules and procedures for the cleaning and
                disinfecting of facility spaces above and beyond normal cleaning activities.”

          22.      The truth that GEO’s actual response to COVID-19 was nothing but a blundering

   disaster, and likely impacted its cashflow and dividend was revealed less than two months later.

   The Intercept published an article during pre-market hours on June 17, 2020 entitled “GEO

   Group’s Blundering Response to the Pandemic Helped Spread Coronavirus in Halfway Houses.”

   The article reported details of a significant COVID-19 outbreak at the Grossman Center, a halfway

   house operated by GEO in Leavenworth, Kansas which “was for weeks the hardest hit federal

   halfway house in the country” in terms of confirmed COVID-19 cases. Citing interviews with

   residents of the Grossman Center, The Intercept reported “that the virus spread not in spite of the

   facility’s efforts to contain it, but because of it” and that GEO’s “blundering” response included

   keeping residents in overcrowded conditions without enforcing personal protective measures even

   as COVID-19 diagnoses at the facility increased. On the same day, GEO’s peer company,

   CoreCivic (which was facing similarly disastrous results) announced the suspension of its dividend

   and a reevaluation of its “corporate structure and capital allocation alternatives.” That suspension

   signaled to the market that, contrary to Defendants’ repeated assurances, GEO’s dividend likely

   was not secure or stable. In response to this news, GEO’s stock price fell over 10% after two days

   of heavy trading.

          23.      Acutely aware of its desperate need to generate some good publicity, GEO filed a

   high-profile lawsuit against Netflix in May 2020 before this very Court. See The GEO Group Inc.,

   et al v. Netflix, Inc., Case No. 9:20-cv-80847-RS. The suit alleges that Netflix “defamed” GEO in


                                                   10
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 11 of 106




   its show “Messiah” by showing GEO trademarks when exhibiting “scenes of an immigrant

   detention facility where people were being housed—day and night—in an overcrowded overheated

   room with a chain-link cage, without beds, sunshine, recreation, or educational opportunities.” Id.

   at ECF No. 38. Netflix’s motion to dismiss rightly calls GEO out for filing the suit as “a poorly-

   guised marketing ploy designed to whitewash real-life governmental findings of abuse.” Id. at ECF

   No. 27, at 5. In support, Netflix attached the June 2019 OIG report that found inhumane conditions

   violating ICE standards in two GEO detention centers that housed ICE detainees.

          24.     Defendants did not finally reveal the full truth behind their Class Period statements

   until August 6, 2020. Ultimately, the Company’s operational deficiencies and contractual and legal

   violations – highlighted by public and political scrutiny and numerous lawsuits – diminished

   GEO’s previous access to capital: the majority of its financing partners bailed, and multiple major

   government contracts were terminated, thereby eliminating GEO’s previous revenue streams.

   Those deficiencies and violations, moreover, left GEO unequipped to deal with multiple major

   COVID-19 outbreaks in GEO facilities. Those defects reduced the population and GEO’s revenue.

   Instead of disclosing the truth to investors, Defendants repeatedly assured that GEO’s dividends

   were safe and its cashflows were stable. By August 6, 2020, Defendants could no longer conceal

   the truth and revealed that they would be reducing GEO’s quarterly dividend by nearly 30%. On

   this news, GEO’s stock price fell nearly 7% after two days of heavy trading. At the end of the

   Class Period, after Defendants’ series of revelations, the price had dropped over 55% from the

   Class Period high.

          25.     Throughout the Class Period, Defendants made materially false and misleading

   statements regarding the Company’s business, operational and compliance policies. Specifically,

   Defendants made false and/or misleading statements and/or failed to disclose: (i) that GEO’s




                                                   11
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 12 of 106




   quarterly dividend levels of $0.47-$0.48 per share were only stable and predictable due to its ability

   to obtain financing from big banks like JPMorgan and WF, and maintain lucrative contracts with

   governments like California, New Mexico and Delaware County, which were at high risk of being

   terminated due to the Company’s operational deficiencies and legal and contractual violations, as

   highlighted by intense public and political scrutiny; (ii) that GEO would have to substantially cut

   its quarterly dividends if it lost its financing from these big banks and/or such key government

   contracts were terminated, because it did not have sufficient alternative sources for capital; (iii)

   that as a result of reduced cash flows, GEO did not have sufficient capital to adequately respond

   to and manage infectious disease outbreaks in its facilities, subjecting residents and employees of

   the Company’s facilities to significant health risks as the COVID-19 pandemic progressed; (iv)

   that to salvage its dwindling revenue, GEO would exacerbate the spread of COVID-19 in its

   facilities by not reducing populations by releasing detainees at high risk of COVID infection or

   COVID-related health complications and/or not accepting new detainees until ordered by a court;

   (v) that as a result of its woefully inadequate response to the COVID-19 pandemic, the Company

   was vulnerable to significant financial and/or reputational harm; and (vi) as a result of the

   foregoing, the Company’s public statements were materially false and misleading at all relevant

   times.

            26.   As a result of Defendants’ wrongful acts and omissions, and the precipitous

   declines in the market value of GEO’s securities, Lead Plaintiffs and other Class members have

   suffered significant losses and damages.

   II.      JURISDICTION AND VENUE

            27.   The claims asserted herein arise under §§ 10(b) and 20(a) of the Exchange Act (15

   U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

   240.10b-5).


                                                    12
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 13 of 106




           28.     This Court has jurisdiction over the subject matter of this action pursuant to 28

   U.S.C. § 1331 and § 27 of the Exchange Act (15 U.S.C. § 78aa).

           29.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and § 27

   of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud or

   the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

   including the dissemination of materially false and/or misleading information, occurred in

   substantial part in this Judicial District. In addition, GEO is headquartered in this Judicial District.

           30.     In connection with the acts, transactions, and conduct alleged herein, Defendants

   directly and indirectly used the means and instrumentalities of interstate commerce, including the

   U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.

   III.    PARTIES

           31.     Lead Plaintiff DeLoach, as set forth in the accompanying certification, incorporated

   by reference herein, purchased GEO common stock during the Class Period, and suffered damages

   as a result of the federal securities law violations and false and/or misleading statements and

   material omissions alleged herein.

           32.     Lead Plaintiff Oketola, as set forth in the accompanying certification, incorporated

   by reference herein, purchased GEO common stock during the Class Period, and suffered damages

   as a result of the federal securities law violations and false and/or misleading statements and

   material omissions alleged herein.

           33.     Defendant GEO is incorporated in Maryland and headquartered in Boca Raton,

   Florida. GEO’s common stock trades on the New York Stock Exchange (“NYSE”) under the

   symbol “GEO.”

           34.     Defendant Zoley serves as GEO’s Chairman of the Board and CEO. He has served

   as CEO since the Company went public in 1994 and served as Vice Chairman of the Board from


                                                     13
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 14 of 106




   January 1997 to May of 2002. Mr. Zoley founded GEO in 1984 and served as President and

   Director from the Company’s incorporation in 1988 until it went public. He also serves as a

   director of several business subsidiaries through which GEO conducts its operations worldwide.

   Mr. Zoley has bachelor’s and master’s degrees in Public Administration from Florida Atlantic

   University and a doctorate degree in Public Administration from Nova Southeastern University.

          35.     Defendant Evans has served as GEO’s Senior Vice President (“SVP”) and Chief

   Financial Officer (“CFO”) since 2009 after having served in various senior business management

   positions at the Company since 2000. As CFO, he is responsible for the Company’s overall

   financial management and acquisition and growth initiatives. Prior to joining GEO, Mr. Evans

   worked for Arthur Andersen LLP as a Manager in the Audit and Business Advisory Services

   Group for 16 years. Mr. Evans graduated in 1990 from the University of Notre Dame with a

   bachelor’s degree in Accounting and is a member of the American Institute of Certified Public

   Accountants.

          36.     Defendant Donahue served as GEO’s SVP and President of the GEO Secure

   Services (formerly known as GEO Corrections and Detentions) division from January 2016 until

   he retired in July 2020. He joined GEO as the Eastern Region Vice President (“VP”) in 2009,

   where he was responsible for the operational oversight of over 24 correctional facilities

   encompassing over 31,000 beds. Mr. Donahue received a Bachelor of Science degree in Police

   Administration from Eastern Kentucky University and complete coursework in the Master of Arts

   in Teaching Graduate Program at Spalding University.

          37.     Defendant Schlarb has served as GEO’s SVP and President of the GEO Care

   division (“GEO Care”) since July 2014. GEO Care encompasses the ‘GEO Continuum of Care’

   organization, intensive residential and non-residential programming, youth services, electronic




                                                 14
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 15 of 106




   monitoring equipment and services, and community-based immigration services. Dr. Schlarb

   earned her master’s degree in Organizational Management and doctorate degree in Organizational

   Psychology and holds several criminal justice certifications.

          38.     Defendants Zoley, Evans, Donahue, and Schlarb are collectively referred to

   hereinafter as the “Individual Defendants.”

          39.     Because of the Individual Defendants’ executive positions, they each had access to

   the undisclosed adverse information about GEO’s business, operations, operational trends,

   controls, markets, and present and future business prospects via internal corporate documents,

   conversations and connections with other corporate officers and employees, attendance at

   management and Board meetings and committees thereof.

          40.     It is appropriate to treat Defendants as a group for pleading purposes and to presume

   that the false, misleading and incomplete information conveyed in the Company’s public filings,

   press releases and other publications, as alleged herein, are the collective actions of the narrowly

   defined group of Defendants identified above. Each of the Individual Defendants was directly

   involved in the management and day-to-day operations of the Company at the highest levels and

   was privy to confidential proprietary information concerning the Company and its business,

   operations, controls, growth, products and present and future business prospects as alleged herein.

   In addition, the Individual Defendants were involved in drafting, producing, reviewing and/or

   disseminating the false and/or misleading statements and information alleged herein, were aware

   of, or recklessly disregarded, the false and misleading statements being issued regarding the

   Company, and approved or ratified these statements in violation of the federal securities laws.

          41.     As officers and controlling persons of a publicly-held company whose shares are

   registered with the SEC pursuant to the Exchange Act and trade on the NYSE which is governed




                                                   15
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 16 of 106




   by the federal securities laws, the Individual Defendants each had a duty to promptly disseminate

   accurate and truthful information with respect to GEO’s operations, business, products, markets,

   management, and present and future business prospects. In addition, the Individual Defendants

   each had a duty to correct any previously-issued statements that had become materially misleading

   or untrue, so that the market price of GEO’s publicly-traded shares would be based upon truthful

   and accurate information. Defendants’ false and/or misleading misrepresentations and omissions

   during the Class Period violated these specific requirements and obligations.

          42.     The Individual Defendants, because of their positions of control and authority as

   Officers and/or Directors of GEO, were able to, and did, control the content of the various SEC

   filings, press releases and other public statements pertaining to the Company during the Class

   Period. Each Individual Defendant was provided with copies of the documents alleged herein to

   be misleading before or shortly after their issuance or had the ability or opportunity to prevent their

   issuance or cause them to be corrected. Accordingly, each Individual Defendant is responsible for

   the accuracy of the public statements detailed herein and is, therefore, primarily liable for the

   representations contained therein.

          43.     Each Defendant is liable as a participant in a fraudulent scheme and course of

   business that operated as a fraud or deceit on purchasers of GEO shares by disseminating

   materially false and/or misleading statements and/or concealing material adverse facts.

   IV.    SUBSTANTIVE ALLEGATIONS

                  Company Background

                  1.      GEO’s History

          44.     Founded in 1984, GEO is purportedly the first fully integrated equity REIT

   specializing in the design, financing, development, and operation of secure facilities, processing

   centers, and community reentry centers in the U.S., Australia, South Africa, and the United


                                                     16
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 17 of 106




   Kingdom. GEO is also purportedly a leading provider of enhanced in-custody rehabilitation, post-

   release support, electronic monitoring, and community-based programs. The Company’s

   worldwide operations include the ownership and/or management of, among other facilities,

   detention centers and halfway houses in the U.S.

          45.     At the time GEO restructured to become a REIT in 2013, there was significant room

   to grow because the U.S. had the largest prison population in the world and private prisons

   represented less than 10% of a $74 billion market. But the private prison model has always had

   critics and controversies, including public outcry about how inmates were treated and accusations

   that the government guaranteed high occupancy rates when it awarded a contract. In addition,

   historically, the profitability of private prisons decreased in recessions with fewer arrests made

   and when there changes in governments disfavoring private prisons.

          46.     For the last three decades, GEO has had long-term agreements with the federal

   government to provide services for the Federal Bureau of Prisons (“BOP”), ICE, and the U.S.

   Marshal Service that were regularly renewed. GEO has also had long-term contracts with several

   state Department of Corrections (“DOC”) owning and/or operating correctional facilities in

   Florida, Georgia, Louisiana, Oklahoma, Arizona, New Mexico, California, Vermont, Virginia and

   Indiana that were regularly renewed.

          47.     GEO is one of the two biggest players in private corrections, with more than 89,000

   corrections and detention beds in 127 U.S. facilities, as well as 7,600 beds in six international

   facilities as of mid-2019.

          48.     GEO is also the largest provider of community correction, youth and electronic

   monitoring services in the U.S. In 2017, almost 23% of GEO’s revenue came from GEO Care, the

   division which manages community correction services, including reentry facilities, i.e., halfway




                                                  17
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 18 of 106




   houses, day reporting centers, youth service facilities, and electronic monitoring services.

                  2.      Ramifications of GEO’s REIT Structure

          49.     After becoming a REIT in 2013, GEO was required to distribute at least 90% of its

   income each year as dividends to shareholders. That structure has allowed GEO to avoid corporate-

   level taxation, because its shareholders are taxed on the dividends. However, as a consequence,

   GEO has had limited funds with which to run its operations and has had to rely on the capital

   markets to fund growth investments.

          50.     Accordingly, GEO’s continued success—as well as that of peer companies, like

   CoreCivic—depended on lucrative financing deals with large banks like JPMorgan, WF and BofA

   on top of maintaining the stable, revenue-generating contracts it had with federal, state and local

   governments requiring it to comply with a host of regulatory requirements while maintaining

   standards of due process and human rights.

          51.     Going into the Class Period, JPMorgan was far and away the largest lender to

   private prison behemoths GEO and CoreCivic, holding $254 million of their debt as of June 2017.5

   WF and BofA also provided revolving credit, term loans and bond underwriting to GEO (and

   CoreCivic), helping them fund facility construction and general operations. In 2018 alone,

   JPMorgan, BofA and WF raised over $1.8 billion in debt over three deals for GEO and CoreCivic.

          52.     This ready access to capital contributed to GEO’s ability to maintain its quarterly

   dividend levels, which is a key metric for investors. Beyond being income for investors, the

   dividends signaled that there was enough cash to be distributed to investors each quarter as a result

   of GEO’s successful operations, growth, and profitability. Moreover, a stable or increasing



   5
    David Dayen, Make the Road NY, JPMorgan Chase Made a Secret $159.5 Million Deal to Finance a
   Private Prison (Dec. 4, 2018), https://maketheroadny.org/jpmorgan-chase-made-a-secret-159-5-million-
   deal-to-finance-a-private-prison/ (last vistied Nov. 17, 2020).


                                                    18
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 19 of 106




   dividend signaled ongoing business profitability, stability, and strength – not a fleeting windfall

   based on aberrant performance. Accordingly, in order to sustain or increase the stock price, GEO

   needed to have sustainable, long-term dividends levels, not fluctuating between high dividends

   one quarter and low dividends the next.

          53.     Critically, to maintain those dividends, as well as the capital investments that

   funded operational growth, GEO had to successfully maintain and operate its facilities in

   compliance with a host of contractual and regulatory requirements, while satisfying standards of

   due process and human rights – all in a sector that was closely watched by extremely active human

   rights organizations like the Human Rights Watch and increasingly monitored by influential

   government officials like Senator Warren, Senator Kamala Harris, and Congresswoman Ocasio-

   Cortez. Any failure would jeopardize GEO’s business on numerous fronts. If GEO violated

   applicable regulations or otherwise infringed due process or human rights of prisoners or detainees,

   GEO could face extreme public scrutiny, bad publicity, lawsuits, and government investigations,

   which would almost certainly result in them losing lucrative government contracts and/or funding

   from the publicly-traded banks that are subject to extensive public and shareholder scrutiny.

   Indeed, banks like JPMorgan, BofA and WF would be hard-pressed to do business with a private

   prison company that had violated human rights or mistreated its wards. And as explained above,

   if GEO lost its lucrative government contracts or funding from major banks, it risked its operations

   and ability to continue growing and be profitable. Indeed, without the government contracts and

   loans, GEO’s ability to continue operating as a REIT would be jeopardized as paying 90% of

   profits as dividends would be unsustainable. Of course, if GEO’s profits lowered, its dividends

   would be lower, and its share price would crash. Similar issues would occur if GEO exited its

   REIT structure.




                                                   19
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 20 of 106




                  3.      Relevant Standards and Guidelines Applicable to GEO Facilities

          54.     Under its contracts with the BOP and U.S. Marshall Services (“USMS”), both

   operating under the U.S. Department of Justice (“DOJ”), GEO facilities – including halfway

   houses and correctional centers – had to obtain and maintain accreditation from the American

   Correctional Association (“ACA”) and the National Commission on Correctional Health Care.

   Further, each facility’s Health Services Administrator (“HSA”) and Clinical Director was

   responsible for the operation of that facility’s infectious disease program. Specifically, the HSA

   must provide infectious disease procedures that incorporate and reference, all applicable standards,

   guidelines, and recommendations from other federal agencies, including the Department of Health

   and Human Services (“HHS”), the Centers for Disease Control and Prevention (“CDC”), the

   Occupational Safety and Health Administration (“OSHA”), and the National Institutes for

   Occupational Health.

          55.     Under its contracts with various state DOC and HHS, each GEO facility – including

   youth facilities, correctional facilities and halfway houses – must utilize national correctional

   expected practices provided by the ACA and was responsible for ensuring that its operations

   maintain ACA standards.

          56.     Under its contracts with ICE, GEO facilities had to adhere to the 2000 National

   Detention Standards (“NDS”), ICE’s 2008 Performance-Based National Detention Standards

   (“PBNDS”), or the 2011 PBNDS, as revised in 2016. ICE detainees are held in civil, not criminal,

   custody, which is not supposed to be punitive. The PBNDS establish consistent conditions of

   confinement, program operations, and management expectations within ICE’s detention system.

   Since both the NDS and PBNDS were modeled after the ACA, detention centers had to follow

   CDC guidelines for the prevention and control of infectious and communicable diseases and




                                                   20
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 21 of 106




   OSHA and applicable state guidelines for managing bio-hazardous waste and decontaminating

   medical and dental equipment. Further, each facility had to have written plans addressing the

   management of infectious and communicable diseases, including screening, prevention, education,

   identification, monitoring and surveillance, immunization (if applicable), treatment, follow-up,

   isolation (if indicated) and reporting to local, state and federal agencies. Designated medical staff

   also had to notify the ICE Health Service Corps’ (“IHSC”) Public Health, Safety, and Preparedness

   Unit of any detainee with a significant communicable disease and of any contact or outbreak

   investigations involving detainees exposed to a significant communicable disease without known

   immunity. All ICE facilities are subject to review and recommendation by the DHS’s OIG.

                  Operational deficiencies led to lawsuits and/or governmental investigations
                  impacting GEO’s cashflows.

          57.     Dozens of lawsuits have been filed against GEO over the past two decades,

   alleging, inter alia, inadequate medical care, deaths, and exploitive labor practices.6 A number of

   those lawsuits did or likely will impact GEO’s cashflows and profitability due to the massive legal

   fees and fines and in many cases, the termination of government contracts.

                  1.      Deficiencies at the Aurora Facility in Colorado

          58.     Notably, a 2017 study of detention facilities found severe health care deficiencies

   in facilities operated by, inter alia, private contractors, including GEO. Specifically, the study—

   basing its conclusions on information in death reviews by ICE’s Office of Detention Oversight

   (“ODO”)—found that one-third of detainee deaths between 2012 and 2015 were due in part to




   6
    GEO Group/GEO Care Rapsheet, Private Corrections Working Group,
   https://www.privateci.org/rap_geo.html (last visited Nov. 16, 2020); GEO Group, Project on Government
   Oversight, https://www.contractormisconduct.org/contractors/253/geo-group (last visited Nov. 16, 2020).


                                                     21
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 22 of 106




   substandard medical care.7 This report spurred at least one complaint filed in June 2018 by the

   American Immigration Council and American Immigration Lawyers Association on behalf of

   current and formerly detained individuals at the GEO-operated Denver Contract Detention Facility

   in Aurora, Colorado (“Aurora Facility”), demanding an investigation into the facility’s inadequate

   medical and mental health care conditions (“Administrative Complaint”).8

          59.     In an earlier filed lawsuit involving the Aurora Facility, Menocal v. GEO Grp., Inc.,

   No. 14-cv-02887 (D. Colo.), on appeal, Geo Group, Inc. v. Menocal, No. 17-cv-1125 (10th Cir.)

   (“Aurora Forced Labor Case”), the Tenth Circuit in February 2018 affirmed the district judge’s

   certification of a class action brought on behalf of immigrant detainees at the Aurora Facility who

   accused GEO of using forced labor and unjustly enriching itself by paying them $1 for a day’s

   work. One of the classes certified consisted of detainees who alleged that GEO’s Housing Unit

   Sanitation Policy at the Aurora Facility violated the federal Trafficking Victims Protection Act

   because it forced them to either take part in a facility cleaning program or face punishment,

   including solitary confinement.9

          60.     This class action was the first of a series of lawsuits questioning GEO’s practice of

   forcing detainees to do manual labor for $1 a day (sometimes less) or face solitary confinement.10

   GEO itself characterized these lawsuits as a “potentially catastrophic risk” in communications to


   7
     Human Rights Watch, Systemic Indifference: Dangerous and Substandard Medical Care in US
   Immigration Detention, May 2017, https://www.hrw.org/report/2017/05/08/systemic-
   indifference/dangerous-substandard-medical-care-us-immigration-detention (last visited Nov. 16, 2020).
   8
     American Immigration Counsel, Complaint Filed with DHS Oversight Bodies Calls for Improvements to
   Medical and Mental Health Care of Immigrants in Aurora Detention Center (June 4, 2018),
   https://www.americanimmigrationcouncil.org/news/complaint-filed-dhs-oversight-bodies-calls-
   improvements-medical-and-mental-health-care (last visited Nov. 16, 2020).
   9
     Kevin Penton, Advocates Say Colo. Detention Site Providing Inadequate Care (June 5, 2018),
   https://www.law360.com/articles/1050393/advocates-say-colo-detention-site-providing-inadequate-care
   (last visited Nov. 16, 2020).
   10
      State of Washington v. The Geo Group, Inc., No. 3:17-cv-055806, (W.D. Wash.); Chao v. GEO Group,
   Inc., No. 3:17-cv-05769 (W.D. Wash.) (collectively, “Washington Forced Labor Cases”); Novoa v. The
   Geo Group, Inc., No. 5:17-cv-02514 (C.D. Cal.) (“Adelanto Forced Labor Case”).


                                                    22
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 23 of 106




   ICE which caught the attention of Senator Warren, who conducted an investigation and sent a

   letter to the Honorable Jay Clayton, SEC Chairman, on July 24, 2019. In her letter, Senator Warren

   highlighted “a series of misleading public statements and omissions of material facts by top

   executives of The GEO Group, Inc.” about the financial “impact of the series of lawsuits against

   the company” in light of non-public communications by corporate executives, including Defendant

   Zoley, to ICE about GEO being “deeply alarmed at the rapidly increasing costs” estimated to be

   as high as $20 million. 11

                  2.      Deficiencies at the Adelanto Facility in California

          61.     In March 2018, a state-contracted disability monitor, Disability Rights California,

   reported widespread lack of medical care and disability accommodation at the GEO-operated

   facility in Adelanto, California (“Adelanto Facility”).12 On June 18, 2018, stakeholders in the

   Adelanto Facility expressed immediate concerns regarding its inadequate medical and mental

   health care at a California DOJ meeting in Los Angeles, California.13

          62.     In September 2018, DHS OIG issued a Management Alert identifying several

   egregious violations of ICE standards that posed significant health and safety risks, including

   untimely and inadequate detainee medical care, based on an unannounced inspection of the

   Adelanto facility in May 2018.14 In response, Pablo Paez, GEO’s executive VP of corporate


   11
      Letter from Elizabeth Warren, U.S. Senator from Mass. to The Honorable Jay Clayton, Chairman for
   the SEC (June 24, 2019),
   https://www.warren.senate.gov/imo/media/doc/2019.07.24%20Letter%20to%20SEC%20on%20GEO%2
   0Group's%20Misleading%20Statements.pdf.
   12
      Disability Rights Cal., There Is No Safety Here, (Mar. 2019) at 17,
   https://www.disabilityrightsca.org/system/files/file-attachments/DRC_REPORT_ADELANTO-
   IMMIG_DETENTION_MARCH2019.pdf
   13
      Xavier Becerra, California Attorney General, The California Department of Justice’s Review of
   Immigration Detention in California, (Feb. 2019) at 23,
   https://oag.ca.gov/sites/all/files/agweb/pdfs/publications/immigration-detention-2019.pdf.
   14
      Office of Inspector Gen., U.S. Dep’t of Homeland Sec., OIG-18-86: Management Alert – Issues
   Requiring Action at the Adelanto ICE Processing Center in Adelanto, California, (Sept. 27, 2018) at 9,
   https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-86-Sep18.pdf.


                                                     23
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 24 of 106




   relations, provided Law360 a statement from the Company published on October 3, 2018 that it

   was “taking the report’s findings ‘very seriously’ and [was] conducting an ‘in-depth review’ with

   its third-party medical services subcontractor.”15 The report was attached as an exhibit filed on

   September 27, 2019 in the Adelanto Forced Labor Case - one of the “potentially catastrophic” $1

   per day cases.16 It was filed again by Netflix in GEO v. Netflix, on August 3, 2020 (ECF No. 27-

   1).

          63.     In June 2019, DHS OIG published its full report from the unannounced inspections

   of four detention centers including the GEO-operated Aurora Facility, Adelanto Facility, and the

   LaSalle ICE Processing Center in Louisiana (“LaSalle Facility”). The report confirmed violations

   of ICE’s detention standards and the unsafe and unhealthy conditions at all of the facilities, raising

   concerns about the environment in which detainees were held.17

          64.     These DHS OIG reports contributed to the filing of a proposed class action, Fraihat

   v. ICE, No. 5:19-cv-01546 (C.D. Cal.) (“Substandard Medical Care Case”), on August 19, 2019

   on behalf of detainees accusing ICE of shirking its legal obligation to provide adequate medical,

   mental health and disability accommodations as mandated by federal law and the U.S. Constitution

   at 158 detention facilities nationwide, including GEO’s Adelanto Facility, as well as several other

   GEO facilities in California and across the country.18




   15
      Law360, Report Finds Bad Medical Care, Nooses At Calif. ICE Facility (Oct. 3, 2018, 5:19 PM EDT),
   https://www.law360.com/articles/1088999/report-finds-bad-medical-care-nooses-at-calif-ice-facility.
   16
      Declaration, Novoa v. The GEO Group, Inc., (C. D. Cal. Sept. 29, 2019) (No. 5:17-cv-02514) (ECF No.
   193-27).
   17
      Office of Inspector Gen., U.S. Dep’t of Homeland Sec., OIG-19-47: Concerns about ICE Detainee
   Treatment and Care at Four Detention Facilities (June 3, 2019),
   https://www.oig.dhs.gov/sites/default/files/assets/2019-06/OIG-19-47-Jun19.pdf.
   18
      Nicole Narea, Law 360, Immigrant Detainees Sue Over ‘Deplorable’ Medical Care (Aug. 19, 2019),
   https://www.law360.com/articles/1189505/immigrant-detainees-sue-over-deplorable-medical-care (last
   visited Nov. 16, 2019).


                                                    24
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 25 of 106




                  3.      Deficiencies at the Northeast Facility in New Mexico

            65.   On November 7, 2018, during the GEO’s third quarter 2018 (“3Q18”) earnings call,

   Defendant Donahue boasted that the Company had amended the contracts for all three of its New

   Mexico correctional facilities, including the Northeast New Mexico Correctional Facility

   (“Northeast Facility”), to provide “incremental funding to support wage increases for [GEO]

   employees.” In 2018, approximately 2% of GEO’s total revenue of $2.3 billion came from the

   state of New Mexico. Suddenly, on June 27, 2019, the Company announced that after 10 years of

   managing the Northeast Facility, “GEO had decided to amicably end its contract,” claiming “it

   [was] no longer feasible to recruit and retain personnel in the region without CPI increases that

   have not been funded over the last decade.”

            66.   The reason for the termination became clear in July 2019, when the police

   department in Clayton, New Mexico and the state police announced an investigation into a

   September 23, 2017 incident at the medium security Northeast Facility which had 625 beds and

   required 20 security guards to be fully staffed. That day, a convicted serial killer overtook one of

   the just nine guards on duty, leading to the state’s most dangerous prison uprising in the past 20

   years.

            67.   Ultimately, GEO paid $1.3 million in fines during 2018 for excessive understaffing

   in violation of its contract with the state. When asked about the contract with GEO, state Senator

   Cisco McSorley said, “I want GEO to fulfill the terms of the contract. They say that they’re in the

   business of keeping our prisons safe and secure and they’re not doing it.” While there were 204

   allocated positions at the Northeast Facility, GEO only had a staff of 120 in late June 2019 when

   it announced it was ending the contract.

                  4.      Deficiencies at the Delaware County Prison in Pennsylvania




                                                   25
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 26 of 106




          68.     After multiple crises in the summer of 2019 involving multiple suicides, prisoner

   riots, and violence against staff and between prisoners at the GEO-operated Delaware County

   Prison in Pennsylvania, formerly known as the George W. Hill Correctional Facility (“Delaware

   County Prison”), Delaware County abolished the two-person appointed Board of Prison Inspectors

   and replaced it with a Jail Oversight Board (“JOB”), consisting of four county officeholders and

   three members of the public, on September 25, 2019.

          69.     But the Delaware County Prison continued to be extremely poorly run. Notably,

   from Christmas Eve though Christmas Day 2019, at least eight prisoners were hospitalized, and

   one prisoner died after an apparent mass drug overdose at the Delaware County Prison which

   resulted from inexperienced guards at the understaffed facility. Unsurprisingly then, on January 3,

   2020, just as the COVID-19 pandemic began spreading throughout the United States, a former

   Delaware County prisoner filed a lawsuit against GEO, former superintendents and the prison’s

   medical unit alleging, inter alia, severe overcrowding.

          70.     In February 2020, JOB took the preliminary step towards ending Delaware

   County’s contract with GEO by voting to commission a study to determine what was needed to

   transition the Delaware County Prison back to being publicly run.

                  5.     Deficiencies at the Garza Center in Texas

          71.     In June 2020, a report detailing prolonged violations of regulatory standards for

   compliance from May 1, 2018 to May 1, 2020 at the GEO-operated Hector Garza Residential

   Treatment Center (“Garza Center”) was filed in M.D. et al. v. Abbott et al., No. 2:11-cv-00084

   (S.D. Tex.) (ECF No. 875). The Garza Center had a license to serve up to 139 male and female

   residents between the ages of ten to seventeen. However, after the Department of Family and

   Protective Services (“DFPS”) stated on May 20, 2020 that the Garza Center would be “phasing




                                                   26
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 27 of 106




   out their service to children in DFPS conservatorship” based on its “determin[ation] that while

   improvements were being made, their particular model was not the direction DFPS was going

   long-term,” the Texas Health and Human Services Commission Residential Child Care Licensing

   Division stated that it “will reevaluate their history for [corrective action] if we receive a new

   [Reason to Believe] from DFPS.”

                  6.      Deficiencies at the Deyton Facility in Georgia

          72.     In July 2020, the DOJ OIG published an audit assessing GEO’s performance and

   compliance with the terms, conditions, laws, and regulations applicable to the contract it was

   awarded to operate the Robert A. Deyton Detention Facility (“Deyton Facility”) in Lovejoy,

   Georgia. The DOJ OIG found that GEO did not comply with the terms and laws pertaining to

   mandatory training and detainee safety and failed to provide staff services between January 2018

   and December 2019 for which it had been paid an estimated $3.1 million.19

                  7.      Deficiencies in Border facilities in Texas

          73.     In May 2019, DHS OIG issued a report warning of “dangerous overcrowding”

   involving hundreds of adult migrants in standing room only conditions at a Border Patrol

   processing center in El Paso, Texas, some of whom had been held in the temporary facilities for

   weeks on end. The report also expressed concern that the “overcrowding and prolonged detention

   represent an immediate risk to the health and safety not just of the detainees, but also DHS agents

   and officers,” noting increased incidents of illness even among Border Patrol staff.20 As discussed

   supra, DHS OIG then issued a report in June 2019, raising concerns about the treatment and care


   19
      DOJ, Audit of the U.S. Marshals Service’s Contract Awarded to the GEO Group, Incorporated to
   Operate the Robert. A. Deyton Detention Facility, Lovejoy, Georgia (July 2020),
   https://oig.justice.gov/sites/default/files/reports/20-085_0.pdf.
   20
      Ross Ramsey, The Texas Tribune, Analysis: U.S.-Mexico border detention efforts aren’t good enough,
   according to the government itself (July 12, 2019), https://www.texastribune.org/2019/07/12/us-mexico-
   border-detention-efforts-arent-good-enough-government-says/ (last visited Nov. 16, 2020).


                                                     27
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 28 of 106




   at four detention centers including three GEO facilities, the Aurora Facility, the Adelanto Facility,

   and the LaSalle Facility. In early July 2019, DHS OIG issued a second report calling for immediate

   action at the U.S.-Mexico border. Specifically, the July report raised concerns about the dangerous

   overcrowding and prolonged detention of children and adults in not just one Texas facility, but

   several detention facilities in the Rio Grande Valley. GEO operates one of the largest family

   detention centers in Texas, the Karnes County Residential Center (“Karnes Center”), with 830

   beds. While the Flores Settlement agreement says family detention facilities are supposed to be

   “non-secure,” the Karnes Center is surrounded by a brick wall.21

          74.     In July 2019, the House Oversight and Reform Committee sent letters to GEO, and

   other companies managing detention centers, demanding documents and communications

   pertaining to the hundreds of millions of dollars in government contracts they had received amid

   the concerning reports of the deplorable treatment of migrants at the southern border. Among these

   requests, the Committee asked for documents pertaining to compliance (including how GEO

   ensured compliance with DHS standards), the names and titles of employees who were tasked with

   upholding DHS standards, and violations at the detention centers and how they were remediated.

   The committee also asked for all communications with ICE, DHS and HHS leadership, the White

   House and political appointees.22

                  Public and political scrutiny increasingly drew attention to GEO’s
                  operational deficiencies, negatively impacting its access to capital.




   21
      Gretchen Frazee, PBS, A Look Inside the Facilities Where Migrant Families are Detained (Aug. 26,
   2019), https://www.pbs.org/newshour/nation/new-trump-rules-would-detain-families-longer-this-is-
   where-they-would-stay (last visited Nov. 17, 2020).
   22
      Leigh Ann Caldwell, NBC News, House Democrats Seek Documents From For-Profit Companies
   Detaining Migrants (July 11, 2019), https://www.nbcnews.com/politics/congress/house-democrats-seek-
   documents-profit-companies-detaining-migrants-n1028591 (last visited Nov. 16, 2020).


                                                    28
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 29 of 106




                  1.      Intense scrutiny led JPMorgan, U.S. Bank and WF to cut ties with GEO

          75.     As more damning information regarding the squalid conditions at detention

   facilities, the mistreatment of migrants, and the separation of families gained public and political

   attention in 2017 and 2018, banks began rethinking their funding of the private prison industry and

   institutional investors began rethinking their decision to invest in private prisons.23

          76.     As early as May 2017, approximately 250 protestors marched from a branch of

   WF—another bank branded by protestors as “Corporate Backers of Hate”—to JPMorgan’s annual

   meeting. In response to questions about JPMorgan’s role in financing debt for private prisons,

   including GEO, JPMorgan CEO Dimon stated that the bank would look into whether it should

   continue to help finance private prisons.24, 25

          77.     In April 2018, an activist organization issued a report revealing that JPMorgan was

   by far the largest lender to private prisons, including GEO and CoreCivic. Activists continued to

   condemn JPMorgan’s financial entanglement with private prisons throughout 2018, arguing that

   its professed commitment to human rights did not fit with its funding of for-profit prisons, and

   organized another protest of Dimon at a Goldman Sachs conference in December 2018.26

          78.     In response to the separation of children from their parents under the Zero

   Tolerance Policy, the Trump administration adopted in April 2018, CalSTRS, the 11-largest



   23
      Rachel Layne, CBS News, Private Prisons were Supposed to Thrive Under Trump—Then Came a
   Backlash (July 29, 2019), https://www.cbsnews.com/news/private-prison-companies-were-supposed-to-
   thrive-under-trump-instead-theyre-under-fire/ (last visited Nov. 16, 2020).
   24
      Jennifer Surane and Felice Maranz, Bloomberg, Dimon Says He’ll Look Into Concerns About Private
   Prison Financing (May 16, 2017), https://www.bloomberg.com/news/articles/2017-05-16/dimon-says-he-
   ll-look-into-concerns-on-private-prison-financings (last visited Nov. 16, 2020).
   25
      Josh Saul, Newsweek, Jamie Dimon, Head of JPMorgan Chase, Pressed on Private Prisons, Trump
   Council Seat (May 16, 2017), https://www.newsweek.com/jpmorgan-chase-jamie-dimon-immigration-
   private-prison-protest-make-road-610463 (last visited Nov. 16, 2020).
   26
      David Dayen, Newsweek, In These Times, JPMorgan Chase Made a Secret $159.5 Million Deal to
   Finance a Private Prison (Dec. 4, 2018), https://maketheroadny.org/jpmorgan-chase-made-a-secret-159-
   5-million-deal-to-finance-a-private-prison/ (last visited Nov. 16, 2020).


                                                     29
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 30 of 106




   retirement fund in the world,27 decided to conduct due diligence on the business practices of both

   GEO and CoreCivic. In July 2018, CalSTRS representatives began visiting detention facilities and

   conducting meetings with senior management concerning their operational processes and risk

   management efforts. By November 2018, CalSTRS had voted to remove all of its holdings from

   CoreCivic and GEO, divesting approximately $13.7 million.28

           79.     GEO was also on notice that it had significant political exposure. The 2018 election

   cycle saw a surge of candidates and lawmakers promising to forego campaign donations from

   private prisons, including GEO.29 For example, ten members of the U.S. House of Representatives,

   two Republicans and eight Democrats, pledged not to take GEO’s money, including House

   Speaker Paul Ryan and Oklahoma U.S. Senator James Lankford. Other lawmakers made similar

   pledges, including U.S. House members Eric Swalwell and Karen Bass of California, Ted Lieu of

   Hawaii, Danny Davis of Illinois, Emanuel Cleaver of Missouri, Hakeem Jeffries of New York,

   David Price of North Carolina, Filemon Vela, Jr. of Texas and Denny Heck of Washington. By

   July 2018, every major Democratic candidate for Florida governor publicly refused to accept

   GEO’s money and the Florida Democratic Party banned all donations from private-prison firms.30

           80.     By 2019, in the wake of the zero-tolerance policy, 250 different organizations had

   formed the Families Belong Together Coalition and was able to, inter alia, collect over 1 million



   27
      Pensions & Investments, The P&I Willis Towers Watson 300: World’s largest retirement funds, (Sept.
   4, 2017), https://www.pionline.com/article/20170904/INTERACTIVE/170839963/the-p-i-willis-towers-
   watson-300-world-s-largest-retirement-funds (last visited Nov. 17, 2020).
   28
      Michelle Mussuto, CalSTRS to Divest from Private Prisons CoreCivic and GEO Group to be removed
   from Teachers’ Retirement Fund Portfolio (Nov. 7, 2018), https://www.calstrs.com/news-release/calstrs-
   divest-private-prisons-0 (last visited Nov. 16, 2020).
   29
      Steve Horn, Prison Legal News, Under Pressure, Some Politicans Return Private Prison Campaign
   Cash (Feb. 5, 2019), https://www.prisonlegalnews.org/news/2019/feb/5/under-pressure-some-politicians-
   return-private-prison-campaign-cash/ (last visited Nov. 17, 2020).
   30
      Jerry Iannelli, Miami New Times, Geo Group’s Own Shareholders Concerned About Human Rights in
   the Company’s Prisons (May 7, 2019), https://www.miaminewtimes.com/content/printView/11166775
   (last visited Nov. 16, 2020); https://www.neveragainaction.com/our-coverage (last visited Nov. 17, 2020).


                                                      30
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 31 of 106




   signatures urging JPMorgan and other banks to separate themselves from CoreCivic and GEO.31

   On Valentine’s Day 2019, an immigrants’ rights group, Make the Road New York, sent a mariachi

   band and protestors with “Break Up With Prisons” signs to Dimon’s Manhattan townhome.32

                  2.      Continued scrutiny limited GEO’s ability to access other financing

          81.     In GEO’s annual shareholder meeting in May 2019, a majority of shareholders

   passed a resolution demanding that the Company better report human rights policies and violations

   to investors by September 2019. GEO’s Board initially told investors to vote against the resolution,

   claiming its internal abuse-monitoring protocols were already adequate, that the requested deadline

   was too soon, and any report would be limited by the Company’s confidentiality obligations.33

          82.     While GEO claimed to be doing all it could to reduce abuse, institutional investor

   Patricia Zerega said on behalf of shareholders in favor of the resolution, “[w]e want to be able to

   make a judgment that the company is moving forward…they claim they have very good attention

   to human rights issues. We want to be able to verify that that’s true. It’s like that old saying: Trust

   but verify.” GEO eventually issued a report in September 2019, after its “position ha[d] evolved.”34

   In a letter published in November 2019, institutional shareholders and members of the Interfaith

   Center on Corporate Responsibility claimed the report fell far short of expectations and failed to

   meet standards for human rights policies and processes, leaving the Company exposed to

   numerous legal, reputational and financial risks. The letter pointed to GEO’s substandard care as



   31
      Dymond Green, Tala Hadavi, CNBC, Why Big Banks Could Be Killing Private Prisons (Jan. 2, 2020),
   https://www.cnbc.com/2020/01/02/why-private-prisons-geo-group-and-corecivic-are-struggling-under-
   trump.html (last visited Nov. 16, 2020).
   32
      Emily S. Rueb, The NY Times, JPMorgan Chase Stops Funding Private Prison Companies, and
   Immigration Activists Applaud (March 6, 2019), https://www.nytimes.com/2019/03/06/business/jp-
   morgan-prisons.html (last visited Nov. 16, 2020).
   33
      Geo Group’s Own Shareholders Concerned About Human Rights in the Company’s Prisons, supra fn.
   24.
   34
      Id.


                                                     31
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 32 of 106




   reason for concern, as evidenced by DHS’s OIG September 2018 report finding “serious issues

   relating to safety, detainee rights and medical care” at the Adelanto Facility and the September

   2017 riot during which the Northeast Facility had less than half the staff it was required to have.35

          83.     By early August 2019, the list of banks refusing to loan to private prisons like GEO

   had grown to at least eight major institutions: JPMorgan, BofA, WF, Suntrust, BNP, Fifth Third,

   Barclays and PNC. Together these eight banks represented an estimated $2.35 billion, or 87.4%,

   of the credit lines and term loans that were central to private prisons’ operations. As a REIT, GEO

   (like its peer company, CoreCivic) depended heavily on short-term borrowing through these lines

   of credit and loans to keep its operations funded day-to-day. But all of the publicly-disclosed banks

   that provided credit and term loans to GEO had committed to ending future financing relationships

   with the private prison industry.36

          84.     And in October 2019, the largest public pension fund in the U.S., the California

   Public Employees Retirement System (“CalPERS”), announced that it was divesting all of its

   holdings – approximately $10.8 million – in GEO and CoreCivic. Following CalPERS’

   announcement, the California Faculty Association said, “[o]ur union was not going to stand by

   and watch our pension dollars support these terrible corporations, and we’re pleased to see that

   CalPERS investment analysts have come to the conclusion.” 37




   35
      Interfaith Center on Corporate Responsibility, Investors Say GEO Group is Ill-prepared to Guard
   Against Human Rights Risks (Nov. 18, 2019), https://www.iccr.org/investors-say-geo-group-ill-prepared-
   guard-against-human-rights-risks (last visited Nov. 16, 2020).
   36
      Gin Armstrong, Private Prisons Now Face 87.4% Financing Gap as Banks Continue to Flee Industry
   (Aug. 14, 2019), https://news.littlesis.org/2019/08/14/private-prisons-now-face-87-4-financing-gap-as-
   banks-continue-to-flee-industry/ (last visited Nov. 16, 2020).
   37
      Julie Ainsley, NBC News, Biggest Public Pension Fund in U.S. Dumps Private Prison Firms that Run
   ICE Migrant Detention Centers (Oct. 21, 2019), https://www.nbcnews.com/politics/immigration/biggest-
   public-pension-fund-u-s-dumps-private-prison-firms-n1063231 (last visited Nov. 16, 2020).


                                                     32
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 33 of 106




                  GEO’s reduced cashflows exacerbated operational deficiencies in dealing
                  with COVID-19 which led to further scrutiny on GEO and its eventual
                  dividend cut.

                  1.              GEO was unable to manage well-known and understood
                                  infectious diseases leading up to COVID-19

          85.     The record number of people in immigration detention centers due to the Zero

   Tolerance Policy led to multiple infectious-disease outbreaks at GEO facilities during the Class

   Period. In the GEO-operated Pine Prairie detention center in Louisiana (“Pine Prairie”), for

   example, there were 18 confirmed or probable cases of mumps, resulting in 288 detainees being

   quarantined as of mid-February 2019. Internal Pine Prairie emails reveal concerns raised by

   medical staff regarding the facility’s handling of the outbreak, quarantine protocols and transfer of

   infected detainees who were contagious, but did not show symptoms of viral diseases.38

          86.     In March 2019, dozens of detainees at the Aurora Facility began a hunger strike to

   draw attention to the continued spread of infectious diseases, resulting in multiple quarantines. At

   the time of the hunger strike, more than 200 detainees were under quarantine and of those,

   approximately 65 had already been under a mumps quarantine for two months and had just been

   informed that their quarantine would start over and last another 21 days.39 At one point in March,

   more than 350 detainees were under quarantine for possible exposure to either mumps or chicken

   pox or both. The Tri-County Health Department was forced to step in and provide a measles,

   mumps and rubella vaccination for detainees and staff at the Aurora Facility, allowing quarantine




   38
      Mica Rosenberg, Kristina Cooke, Reuters, Mumps, other outbreaks force U.S. detention centers to
   quarantine over 2,000 migrants (Mar. 10, 2019), https://www.reuters.com/article/us-usa-immigration-
   outbreaks/mumps-other-outbreaks-force-u-s-detention-centers-to-quarantine-over-2000-migrants-
   idUSKBN1QR0EW (last visited Nov. 16, 2020).
   39
      Tony Kovaleski, The Denver Channel. Frustrated Colorado ICE detainees in midst of hunger strike
   over infectious disease quarantines (Mar. 6, 2019), https://www.thedenverchannel.com/news/local-
   news/frustrated-colorado-ice-detainees-in-midst-of-hunger-strike-over-infectious-disease-quarantines
   (last visited Nov. 16, 2020).


                                                     33
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 34 of 106




   to be lifted on May 20, 2019, but medical staff diagnosed another detainee with mumps just two

   days later, resulting in 50 or so detainees who were potentially exposed to be placed under

   quarantine. As of June 4, 2019, 152 detainees were under quarantine. 40

          87.     Reports of the infectious-disease outbreaks led Congressman Jason Crow to initiate

   an investigation into the health conditions at the Aurora Facility in early 2019. In May 2019, Crow

   introduced a bill that would require immigration detention facilities, like the Aurora Facility, to

   comply with site inspection requests from members of Congress within 48 hours.41

          88.     As of mid-June, ICE had 297 confirmed cases of mumps in 39 ICE facilities since

   September 2018, including in multiple GEO facilities.42 The rise in infectious disease outbreaks in

   2019 sparked concern from advocates about access to adequate medical care in immigration

   detention facilities, which was only heightened after the White House proposed to increase the

   number of immigration family detention beds as part of its 2020 budget.43

                  2.      GEO was unable to adequately respond to COVID-19

          89.     Already strapped for cash, and still reeling from its failed attempts at harnessing

   the 2019 infectious disease outbreaks, GEO was wholly unequipped to manage the incoming

   global COVID-19 pandemic in 2020. Not only did GEO have to address COVID-19 outbreaks in

   its facilities, but it faced rising legal costs associated with COVID-related litigation and decreased




   40
      Conor McCormick-Cavanagh, Westword, Detainees Under Infectious-Disease Quarantine at
   Immigration Detention Facility (June 4, 2019), https://www.westword.com/news/quarantines-back-at-
   aurora-geo-group-immigration-detention-facility-11365795 (last visited Nov. 16, 2020).
   41
      Id.
   42
      Heather Timmons, Justin Rohrlich, Quartz, ICE is Struggling to Contain Spread of Mumps in Its
   Detention Centers (June 14, 2019), https://qz.com/1626803/ice-struggles-to-contain-spread-of-mumps-in-
   its-detention-centers/ (last visited Nov. 16, 2020).
   43
      Nicole Einbinder, Insider, Immigrant Detention Centers are Dealing with Mumps and Chicken Pox
   Outbreaks, and Thousands Have Been Put Into Quarantine (Mar. 15, 2019),
   https://www.insider.com/disease-outbreaks-and-quarantines-in-immigration-detention-centers-spark-
   concerns-2019-3 (last visited Nov. 16, 2020).


                                                    34
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 35 of 106




   revenue resulting from decreased detainee and inmate populations based on orders and/or

   guidelines from courts, governments and regulatory agencies.

          90.     Throughout the Class Period, including in November 2019, just prior to the start of

   the COVID-19 pandemic, Defendant Zoley assured the market that “[t]he residential centers we

   manage on behalf of ICE are highly rated by national accreditation organizations and provide high-

   quality, culturally responsive services in safe and humane environment.”

          91.     In the ensuing weeks, COVID-19 exploded across the international news scene. By

   January 30, 2020, the World Health Organization (“WHO”) declared COVID-19 a Public Health

   Emergency of International Concern. By March 11, 2020, the WHO declared COVID-19 a

   “pandemic.” ￼ In that declaration, WHO stated that it had “called every day for countries to take

   urgent and aggressive action. We have rung the alarm bell loud and clear.” Id. As was easy to

   predict, by March 26, 2020, the United States had become the country with the highest confirmed

   cases of COVID in the world. Yet as the WHO “rang the alarm bell loud and clear,” while the

   virus traveled across the world, while it shut down countries, and while it slowed the global

   economy, GEO––a company with a demonstrated history of failing to control known infectious

   diseases––sat silent.

          92.     After being publicly notified of the “special risk” incarcerated and detained

   individuals faced with regard to infectious diseases on March 9, 2020, GEO confirmed to Law360

   that “no coronavirus cases ha[d] been detected” in any of its facilities and that it had “has issued

   guidance to each of its facilities and updated its policies to include preventing COVID-19.” But

   immigration attorneys stated that such “established protocols and detention standards may not be

   enough” in light of past “fail[ures] to manage other public health crises,” as GEO well knew based




                                                   35
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 36 of 106




   on its robust track record of operational deficiencies, particularly in handling infectious diseases.44

          93.     To be sure, GEO was well aware of the COVID-19 pandemic. It’s response to

   Senator Warren’s correspondence makes it clear that “we are fully aware of the emerging health

   concerns presented by COVID-19.”

          94.     On March 18, 2020, the ACA published a report providing guidance on how to

   respond to COVID-19. Recommendations included: evaluating/screening all inmates upon intake

   and return from court/medical and all outside work locations; conducting noninvasive screenings

   of everyone for symptoms; formalization of a schedule to ensure cleaning and disinfection of high

   touch areas multiple times per day; immediate isolation of any inmates that present flu-like

   symptoms, followed by the enactment of contact precautions and personal protective equipment

   (place a mask on the inmate); and establishing an ongoing log to record patients presenting with

   flu-like symptoms to facilitate reporting to local health authorities and others as appropriate.

          95.     On March 25, 2020, while confirming that a staffer at the Aurora Facility had been

   diagnosed with COVID-19, ICE stated that the staffer did not have access to the area where

   detainees were housed and denied that any quarantines were in place. However, Laura Lunn,

   managing attorney at the Rocky Mountain Immigrant Advocacy Network, said that its clients had

   reported that (1) after someone in the A2 dormitory at the Aurora Facility (“A2”) had gotten sick,

   A2 had been sealed off and individuals in A2 were not permitted to leave, including to attend their

   immigration court hearings, and (2) people held in the Aurora Facility were experiencing flu-like

   symptoms, but could not verify their illness. A spokesperson for GEO said that none of the




   44
     Suzanne Monyak, Law360, Attys Fear Coronavirus Spread In Immigration Detention (Mar. 11, 2020),
   https://www.law360.com/articles/1251570/attys-fear-coronavirus-spread-in-immigration-detention- (last
   visited Nov. 16, 2020).


                                                     36
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 37 of 106




   Company’s employees at the Aurora Facility had been diagnosed with COVID-19.45

          96.     On the same day, the plaintiffs in the Substandard Medical Care Case, filed an

   emergency motion to certify a subclass and for preliminary injunction to implement protections

   against COVID-19.46     47
                                On April 20, 2020, the court ordered ICE to promptly evaluate and

   potentially release thousands of detainees who were at higher risk of contracting or dying from

   COVID-19, blasting the agency for its “callous indifference to the safety and well-being” of

   detainees in its care and noting that “[t]he evidence suggests systemwide inaction that goes beyond

   a mere difference of medical opinion or negligence.”48

          97.     March 25, 2020 was also the first time GEO even specifically mentioned COVID-

   19 in its public filings with the SEC. Inexplicably, this mention is limited to noting that Defendant

   Donahue would be “delaying retirement” and that this delay “will be helpful in addressing the

   challenges and impacts of the Coronavirus.”

          98.     On April 13, 2020, detainees in the Adelanto Facility filed a lawsuit seeking to

   reduce the population at the facility to allow for social distancing during the COVID-19 pandemic,

   Kelvin Hernandez Roman et al. v. Chad F. Wolf et al., Case No. 5:20-cv-00768 (C.D Cal.). On

   April 23, 2020, a federal judge granted the preliminary injunction and ordered the Adelanto

   Facility to immediately reduce detainee population, demanding the release at least 100 detainees

   by April 27, and 150 more by April 30, and to follow all measures recommended by the CDC,



   45
      Suzanne Monyak, Law 360, Staffer at Colo. Detention Center Diagnosed With COVID-19 (Mar. 25,
   2020), https://www.law360.com/articles/1257221/staffer-at-colo-detention-center-diagnosed-with-covid-
   19 (last visited Nov. 16, 2020).
   46
      Emergency Notice of Motion and Motion for Preliminary Injunction, Faour Abdallah Fraihat, et al. v.
   U.S. Immigration and Customs Enforcement, et al., Case No. 5:19-cv-01546 (C.D. Cal.) (ECF No. 81).
   47
      Emergency Notice of Motion and Motion to Certify Subclasses, Faour Abdallah Fraihat, et al. v. U.S.
   Immigration and Customs Enforcement, et al., Case No. 5:19-cv-01546 (C.D. Cal.), ECF No. 83.
   48
      Order, Faour Abdallah Fraihat, et al. v. U.S. Immigration and Customs Enforcement, et al., Case No.
   5:19-cv-01546 (C.D. Cal.), ECF No. 132.


                                                     37
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 38 of 106




   including that “[a]ll detainee common areas and share items…shall be cleaned and disinfected by

   a professionally trained cleaning staff with appropriate equipment and supplies on a regular basis

   whenever those common areas and shared items are accessible to detainees.” ECF No. 55.

           99.     Also on April 13, 2020, across the country, detainees in three South Florida

   detention centers, including the GEO-operated Broward Transitional Center, filed a lawsuit in

   federal court alleging that the centers failed to comply with guidelines for preventing the spread

   of COVID-19 and seeking the release of a proposed class of vulnerable detainees.49 On April 30,

   2020, the Court ordered the centers to cut the number of people in their custody to 75%, and to

   hand out soap, cleaning materials and masks to all detainees.50 On June 6, 2020, the Court further

   ordered the detention centers to improve conditions, limit transfers to address the COVID-19

   pandemic, and to no longer place detainees in cohort quarantine without confirming the detainee

   had COVID-19.51 Based on credible testimony and sworn declarations, the Court noted that centers

   had “only partially complied with its own directives or CDC Guidelines” as they reduced

   populations by simply shuffling detainees around to other facilities through transfers conducted in

   unsanitary conditions and without proper COVID-19 screening, “paint[ing] a grim picture of an

   agency steeped in deliberate indifference.”

           100.    On April 14, 2020, detainees in the Aurora Facility filed a lawsuit accusing it of

   failing to provide enough soap and violating CDC recommendations by keeping detainees in close

   quarters, pressing the Court to release medically vulnerable detainees during the COVID-19

   pandemic. The detainees allege that detention centers are a “hotbed for spread of the virus,”

   particularly where social distancing measures were impossible in the crowded Aurora Facility and


   49
      Application/Petition (Complaint) for Writ of Habeas Corpus, Gayle et al. v. Meade et al., Case No.
   1:20-cv-21553, (S.D. Fl.), ECF No. 1.
   50
      Order, Gayle et al. v. Meade et al., Case No. 1:20-cv-21553, (S.D. Fl.), ECF No. 76.
   51
      Order, Gayle et al. v. Meade et al., Case No. 1:20-cv-21553, (S.D. Fl.), ECF No. 158.


                                                      38
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 39 of 106




   “no meaningful measures [have been taken] to curb the spread of the virus at the Aurora facility.”

   Detainees also criticized GEO’s failure to conduct widespread testing, despite the fact that two

   ICE employees who work in the Aurora Facility and three GEO employees who run the Aurora

   Facility had tested positive for COVID-19.52 Within 24 hours of the filing, alleging poor

   management of infectious diseases at the Aurora Facility, 8 of the 14 individuals claimed to be at

   high risk of contracting COVID-19 were released.

           101.    On April 20, 2020, detainees in Yuba County Jail and the GEO-operated Mesa

   Verde Detention Center (the “Mesa Verde Facility”) filed a lawsuit in federal court alleging that

   the facilities were so crowded that social distancing was impossible and no meaningful steps had

   been taken to reduce the risk of COVID-19 outbreaks.53 On June 9, 2020, after noting that “safety

   improvements came almost entirely from this litigation: ICE acted only because it was ordered to

   do so, or in response to concerns raised by the Court or the plaintiffs during the proceedings,” the

   Court proceeded to order that the facilities “maintain, at a minimum, the status quo that currently

   exists as it relates to protection from transmission of Covid-19.”54 The Court further noted that

   “ICE’s conduct and attitude towards its detainees at Mesa Verde and Yuba County Jail since the

   pandemic began have shown beyond doubt that ICE cannot currently be trusted to prevent

   constitutional violations at these particular facilities without judicial intervention.” Then, on

   August 6, 2020, the Court ordered the administration of at minimum, weekly, rapid-result COVID-

   19 tests to all detainees at the Mesa Verde Facility, rejecting GEO and ICE’s claims of insufficient



   52
      Petition for Writ of Habeas Corpus and Complaint for Injunctive and Declaratory Relief, Leaford
   Codner et al. v. Coate et al., 1:20-cv-01050 (D. Colo.), ECF No. 1.
   53
      Class Petition for Writ of Habeas Corpus and Class Complaint or Injunctive and Declaratory Relief,
   Angel de Jesus Zepeda Rivas et al. v. David Jennings et al., Case No. 3:20-cv-02731 (C.D. Cal.), ECF
   No. 1.
   54
      Order Granting Motion for Preliminary Injunction, Angel de Jesus Zepeda Rivas et al. v. David
   Jennings et al., Case No. 3:20-cv-02731 (C.D. Cal.), ECF No. 229.


                                                      39
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 40 of 106




   testing supplies based on documentary evidence showing that they had avoided widespread testing

   out of “fear that positive test results would require them to implement safety measures.”55

          102.    Not until May 6, 2020, in the midst of crisis after crisis related to COVID-19 and

   this deluge of lawsuits and negative Court orders did GEO finally provide a substantive update to

   investors in its SEC filings. In a Form 8-K filed that day, GEO included an April 30, 2020 press

   release that “provide[d] an update on the impact of COVID-19 pandemic on GEO.”

          103.    On June 29, 2020, a complaint was filed in Texas federal court alleging that GEO

   failed to abide by proper safety and health protocols at a federal halfway house in Houston, Texas

   and yet threatened to discipline residents if they called county or city agencies for COVID-19

   information, testing, or to inform them about any deaths at the facility.56 The complaint also alleged

   that GEO had not reported three COVID-19 related deaths at the facility, was not complying with

   the CDC and BOP’s guidance on social distancing or basic cleaning supplies, and was failing to

   provide basic medical care or to conduct screening of staff and/or residents for COVID-19.

          104.    On July 13, 2020, Congress’ Border Security, Facilitation & Operations

   Subcommittee held a hearing it titled “Oversight of ICE Detention Facilities: Examining ICE

   Contractors’ Response to COVID-19. Chairwoman Kathleen Rice opened the hearing by

   remarking on concerns that ICE contractors (including GEO) had not responded appropriately to

   the COVID-19 outbreak. In her opening statement, Rice noted: “Detention facilities must be held

   to a high standard at all times, but in this moment, it is of vital importance. And yet, over the past

   few months, it is clear that ICE and its contractors have not taken this outbreak seriously and



   55
      Order Granting Motion for Temporary Restraining Order, Angel de Jesus Zepeda Rivas et al. v. David
   Jennings et al., Case No. 3:20-cv-02731 (C.D. Cal.), ECF No. 500.
   56
      Keith Larsen, The Real Deal, Private Prison REIT Threatened Inmates for Reporting Covid-19
   Concerns: Lawsuit (July 6, 2020), https://therealdeal.com/2020/07/06/private-prison-reit-threatened-
   inmates-for-reporting-covid-19-concerns-lawsuit/ (last visited Nov. 16, 2020).


                                                     40
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 41 of 106




   have not treated it aggressively enough. More than three thousand detainees, 280 contractors,

   and at least 45 ICE employees assigned to detention facilities have now tested positive for COVID-

   19. Sadly, we have lost at least two detainees and five contractors due to complications from the

   coronavirus after exposure at detention facilities. Despite these horrific losses, ICE is continuing

   normal operations and contractors are following in lock step.”

           105.     Defendant Zoley testified at the hearing. In his written statement, he admitted that

   by the first week of July, there had been 611 positive COVID cases in GEO’s ICE facilities alone.

                    Defendants’ Materially False and Misleading Class Period Statements.57

           106.     Throughout the Class Period, Defendants were aware or severely reckless in not

   knowing that GEO’s operational deficiencies and contractual and legal violations – as increasingly

   highlighted by public and political scrutiny and numerous lawsuits – would cost the Company

   access to capital after its publicly disclosed financing partners bailed and revenue streams after

   multiple major government contracts were terminated. Defendants were also aware or severely

   reckless in not knowing that the lost financing partners and government contracts left GEO wholly

   unequipped to deal with COVID-19 in its facilities, which resulted in orders and/or guidelines

   from courts, governments and regulatory agencies materially reducing populations and thus

   materially less revenue for the Company.

           107.     On the first day of the Class Period, November 7, 2018, during the Company’s

   3Q18 earnings call, while acknowledging the results of the mid-term election, Defendant Zoley

   reminded investors of the Company’s “three-decade-long record in providing high-quality services

   under both Democratic and Republican administrations at the federal and state levels” and assured



   57
      For ease of reference, Plaintiffs have attached hereto a chart of the statements alleged to be false and/or
   misleading as Appendix A. The particular portions of the statements alleged to be false and misleading are bold and
   italicized.


                                                           41
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 42 of 106




   them that GEO has “consistently helped [its] government partners meet their correctional and

   detention challenges with the development and operation of state-of the art facilities providing

   services in safe, secure and humane environments,” noting that its “facilities are under constant

   operational scrutiny by onsite government monitors and special inspections by government

   agencies and third-party accrediting organizations.”

          108.    The statements referenced in ¶107 were materially false and/or misleading because

   far from having “consistently” helped the Company’s government partners provide “safe, secure,

   and humane environments,” Defendants misrepresented and failed to disclose, knowingly or

   recklessly disregarded: (i) the June 2018 Administrative Complaint regarding the Aurora Facility’s

   inadequate health care, and the Tenth Circuit affirming the class certification in the Aurora Forced

   Labor Case, alleging labor law violations, that was part of a series of cases, exposed the Company

   to “tens of millions” in potential damages and as high as $20 million in legal expenses (¶¶ 58-60);

   (ii) the 2018 reports on the Adelanto Facility’s inadequate detainee medical care that would lead

   to costly lawsuits (¶¶ 61-62); and (iii) the $1.3 million GEO paid in fines during 2018 for excessive

   understaffing at the Northeast Facility which led to New Mexico’s most dangerous prison uprising

   in decades (¶¶ 65-67).

          109.    In addition, during the 3Q18 earnings call, Defendant Zoley boasted that GEO’s

   “dividend is supported by stable and predictable operational cash flows.”

          110.    Later during the 3Q18 earnings call, Defendant Evans reiterated that GEO’s

   “dividend payment . . . is supported by stable and predictable operational cash flow.”

          111.    The statements referenced in ¶¶109-110 about the stability of GEO’s dividends and

   cash flows were materially false and/or misleading because Defendants misrepresented and failed

   to disclose the following adverse facts pertaining to GEO’s business, operational and financial




                                                    42
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 43 of 106




   results, which were known to or recklessly disregarded by them that: (i) GEO’s quarterly dividend

   levels of $0.47-$0.48 per share were only stable and predictable due to its ability to obtain

   financing from big banks like JPMorgan and WF and maintain lucrative contracts with

   governments like New Mexico and Delaware County, which were at high risk of being terminated

   and/or not renewed due to the Company’s operational deficiencies and legal and contractual

   violations, as highlighted by intense public and political scrutiny, and (ii) GEO would have to

   substantially cut its quarterly dividends if big banks like JPMorgan and WF stopped financing it

   and key government contracts like with New Mexico and Delaware County were terminated

   because it did not have sufficient alternative sources for capital.

          112.    On November 8, 2018, GEO filed a Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended September 30, 2018

   (the “3Q18 10-Q”) which was “duly authorized” by Defendant Evans. With respect to “Litigation,

   Claims and Assessments,” the 3Q18 10-Q stated, in relevant part:

         On October 22, 2014, former civil immigration detainees at the Aurora Immigration
         Detention Center filed a class action lawsuit against the Company in the United States
         District Court for the District of Colorado (the “Court”). The complaint alleges that
         the Company was in violation of the Colorado Minimum Wages of Workers Act and
         the federal Trafficking Victims Protection Act (“TVPA”). The plaintiff class claims
         that the Company was unjustly enriched as a result of the level of payment the
         detainees received for work performed at the facility, even though the voluntary work
         program as well as the wage rates and standards associated with the program that are
         at issue in the case are authorized by the Federal government under guidelines
         approved by the United States Congress. On July 6, 2015, the Court found that
         detainees were not employees under the Colorado Minimum Wage Order and
         dismissed this claim. In February 2017, the Court granted the plaintiff-class’ motion
         for class certification which the Company appealed to the 10th Circuit Court of
         Appeals. On February 9, 2018, a three-judge panel of the appellate court affirmed the
         class-certification order. A petition for rehearing en banc was denied on March 7,
         2018. On October 2, 2018, the U.S. Supreme Court denied the Company’s petition for
         a writ of certiorari on the class certification order. The plaintiff class seeks actual
         damages, compensatory damages, exemplary damages, punitive damages, restitution,
         attorneys’ fees and costs, and such other relief as the Court may deem proper. In the
         time since the Colorado suit was initially filed, three similar lawsuits have been filed



                                                    43
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 44 of 106




         – two in Washington and one in California. In Washington, one of the two lawsuits
         was filed on September 9, 2017 by immigration detainees against the Company in the
         U.S. District Court for the Western District of Washington. The second was filed on
         September 20, 2017 by the State Attorney General against the Company in the
         Superior Court of the State of Washington for Pierce County, which the Company
         removed to the U.S. District Court for the Western District of Washington on October
         9, 2017. In California, a class-action lawsuit was filed on December 19, 2017 by
         immigration detainees against the Company in the U.S. District Court Eastern Division
         of the Central District of California. All three lawsuits allege violations of the
         respective state’s minimum wage laws. However, the California lawsuit, like the
         Colorado suit, also includes claims based that the Company violated the TVPA and
         California’s equivalent state statute. The Company intends to take all necessary steps
         to vigorously defend itself and has consistently refuted the allegations and claims in
         these lawsuits. The Company has not recorded an accrual relating to these matters
         at this time, as a loss is not considered probable nor reasonably estimable at this
         stage of the lawsuit.

         The nature of the Company’s business exposes it to various types of third-party legal
         claims or litigation against the Company, including, but not limited to, civil rights
         claims relating to conditions of confinement and/or mistreatment, sexual misconduct
         claims brought by prisoners or detainees, medical malpractice claims, product liability
         claims, intellectual property infringement claims, claims relating to employment
         matters (including, but not limited to, employment discrimination claims, union
         grievances and wage and hour claims), property loss claims, environmental claims,
         automobile liability claims, indemnification claims by its customers and other third
         parties, contractual claims and claims for personal injury or other damages resulting
         from contact with the Company’s facilities, programs, electronic monitoring products,
         personnel or prisoners, including damages arising from a prisoner’s escape or from a
         disturbance or riot at a facility. The Company does not expect the outcome of any
         pending claims or legal proceedings to have a material adverse effect on its financial
         condition, results of operations or cash flows. However, the results of these claims or
         proceedings cannot be predicted with certainty, and an unfavorable resolution of one
         or more of these claims or proceedings could have a material adverse effect on the
         Company’s financial condition, results of operations or cash flows.

          113.    The statements referenced in ¶112 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60).



                                                    44
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 45 of 106




          114.    On February 14, 2019, during the Company’s fourth quarter 2018 (“4Q18”)

   earnings call, Defendant Zoley again boasted that GEO’s “core operational cash flows remained

   stable and predictable,” “dividend payments are supported by predictable operational cash

   flows,” and that its “initial guidance for 2019 . . . reflects year-over-year growth in our adjusted

   EBITDA and provides assurance for the sustainability of our dividend.”

          115.    Defendant Evans similarly boasted that the “[o]ur dividend payment . . . is

   supported by stable and predictable operational cash flows.”

          116.    The statements referenced in ¶¶114-115 about the stability of GEO’s dividends and

   cash flows were materially false and/or misleading because Defendants misrepresented and failed

   to disclose the following adverse facts pertaining to GEO’s business, operational and financial

   results, which were known to or recklessly disregarded by them: (i) that GEO’s quarterly dividend

   levels of $0.47-$0.48 per share were only stable and predictable due to its ability to obtain

   financing from big banks like JPMorgan and WF and maintain lucrative contracts with

   governments like New Mexico and Delaware County, which were at high risk of being terminated

   and/or not renewed due to the Company’s operational deficiencies and legal and contractual

   violations, as highlighted by intense public and political scrutiny, and (ii) that GEO would have to

   substantially cut its quarterly dividends if big banks like JPMorgan and WF stopped financing it

   and key government contracts like with New Mexico and Delaware County were terminated

   because it did not have sufficient alternative sources for capital.

          117.    In addition, during the 4Q18 earnings call, Defendant Zoley confirmed that “our

   core business remains stable[.]”

          118.    The statement referenced in ¶117 regarding the stability of GEO’s “core business”

   was materially false and/or misleading because Defendants misrepresented and failed to disclose,




                                                    45
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 46 of 106




   knowingly or recklessly disregarded: (i) the June 2018 Administrative Complaint regarding the

   Aurora Facility’s inadequate health care, and the Tenth Circuit affirming the class certification in

   the Aurora Forced Labor Case, alleging labor law violations, that was part of a series of cases

   which exposed the Company to “tens of millions” in potential damages and as high as $20 million

   in legal expenses (¶¶ 58-60); (ii) the 2018 reports on the Adelanto Facility’s inadequate detainee

   medical care that would lead to costly lawsuits (¶¶ 61-62); (iii) the $1.3 million GEO paid in fines

   during 2018 for excessive understaffing at the Northeast Facility which led to New Mexico’s most

   dangerous prison uprising in decades (¶¶ 65-67); and (iv) the stability was dependent on GEO’s

   ability to obtain financing from big banks like JPMorgan and WF and maintain lucrative contracts

   with governments like New Mexico and Delaware County, which were at high risk of being

   terminated due to the Company’s operational deficiencies and legal and contractual violations, as

   highlighted by intense public and political scrutiny.

          119.    Defendant Evans also stated during the 4Q18 call, “[d]uring the fourth quarter, we

   recognized -- reorganized our legal representation and strategy with respect to certain legal cases

   and incurred one-time legal transition expenses. We believe, we have adequately accounted for

   known legal cases in our guidance for 2019.”

          120.    The statement referenced in ¶119 regarding GEO having “adequately accounted for

   known legal cases” was materially false and/or misleading because Defendants misrepresented

   and failed to disclose, knowingly or recklessly disregarded, that these series of cases alleging

   violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to honor its

   contracts with the federal government” and exposed the Company to “tens of millions” in potential

   damages and as high as $20 million in legal expenses (¶¶ 59-60).

          121.    In Defendant Donahue’s prepared statements for the 4Q18 call, he stated “[l]ooking




                                                   46
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 47 of 106




   at our state segment, our non-state correctional customers have stable budgets and our facilities

   have been able to provide high quality services without being impacted by budgetary

   constraints.”

           122.    The statement referenced in ¶121 regarding GEO facilities providing “high quality

   services without being impacted by budgetary constraints” was materially false and/or misleading

   because Defendants misrepresented and failed to disclose, knowingly or recklessly disregarded:

   (i) the June 2018 Administrative Complaint regarding the Aurora Facility’s inadequate health care,

   and the Tenth Circuit affirming the class certification in the Aurora Forced Labor Case, alleging

   labor law violations, that was part of a series of cases, exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 58-60) and (ii) the 2018

   reports on the Adelanto Facility’s inadequate detainee medical care that would lead to costly

   lawsuits (¶¶ 61-62).

           123.    On February 25, 2019, GEO filed an Annual Report on Form 10-K with the SEC,

   reporting the Company’s financial and operating results for the year ended December 31, 2018

   (the “2018 10-K”). With respect to “Litigation, Claims and Assessments,” the 2018 10-K stated,

   in relevant part:

         As previously reported and described in our prior periodic reports, including most
         recently in our Form 10-Q for the quarter ended June 30, 2018, on February 8, 2017,
         former civil immigration detainees at the Aurora Immigration Detention Center filed
         a class action lawsuit on October 22, 2014, against the Company in the United States
         District Court for the District of Colorado (the “Court”). The complaint alleges that
         the Company was in violation of the Colorado Minimum Wages of Workers Act and
         the federal Trafficking Victims Protection Act (“TVPA”). The plaintiff class claims
         that the Company was unjustly enriched because of the level of payment the detainees
         received for work performed at the facility, even though the voluntary work program
         as well as the wage rates and standards associated with the program that are at issue in
         the case are authorized by the Federal government under guidelines approved by the
         United States Congress. On July 6, 2015, the Court found that detainees were not
         employees under the Colorado Minimum Wage Order and dismissed this claim. In
         February 2017, the Court granted the plaintiff-class’ motion for class certification. The



                                                    47
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 48 of 106




         plaintiff class seeks actual damages, compensatory damages, exemplary damages,
         punitive damages, restitution, attorneys’ fees and costs, and such other relief as the
         Court may deem proper. In the time since the Colorado suit was initially filed, three
         similar lawsuits have been filed — two in Washington and one in California. In
         Washington, one of the two lawsuits was filed on September 9, 2017 by immigration
         detainees against the Company in the U.S. District Court for the Western District of
         Washington. The second was filed on September 20, 2017 by the State Attorney
         General against the Company in the Superior Court of the State of Washington for
         Pierce County, which the Company removed to the U.S. District Court for the Western
         District of Washington on October 9, 2017. In California, a class-action lawsuit was
         filed on December 19, 2017 by immigration detainees against the Company in the U.S.
         District Court Eastern Division of the Central District of California. All three lawsuits
         allege violations of the respective state’s minimum wage laws. However, the
         California lawsuit, like the Colorado suit, also includes claims based that the Company
         violated the TVPA and California’s equivalent state statute. The Company intends to
         take all necessary steps to vigorously defend itself and has consistently refuted the
         allegations and claims in these lawsuits. The Company has not recorded an accrual
         relating to these matters at this time, as a loss is not considered probable nor
         reasonably estimable at this stage of the lawsuit.

         The nature of the Company’s business exposes it to various types of third-party legal
         claims or litigation against the Company, including, but not limited to, civil rights
         claims relating to conditions of confinement and/or mistreatment, sexual misconduct
         claims brought by prisoners or detainees, medical malpractice claims, product liability
         claims, intellectual property infringement claims, claims relating to employment
         matters (including, but not limited to, employment discrimination claims, union
         grievances and wage and hour claims), property loss claims, environmental claims,
         automobile liability claims, indemnification claims by its customers and other third
         parties, contractual claims and claims for personal injury or other damages resulting
         from contact with the Company’s facilities, programs, electronic monitoring products,
         personnel or prisoners, including damages arising from a prisoner’s escape or from a
         disturbance or riot at a facility. The Company accrues for legal costs associated with
         loss contingencies when those costs are probable and reasonably estimable. The
         Company does not expect the outcome of any pending claims or legal proceedings
         to have a material adverse effect on its financial condition, results of operations or
         cash flows.

          124.    The statements referenced in ¶123 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”



                                                    48
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 49 of 106




   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60).

          125.    With respect to “Quality of Operations,” the 2018 10-K stated, in relevant part:

         We operate each facility in accordance with our company-wide policies and
         procedures and with the standards and guidelines required under the relevant
         management contract. For many facilities, the standards and guidelines include those
         established by the American Correctional Association, or (“ACA”). The ACA is an
         independent organization of corrections professionals, which establishes correctional
         facility standards and guidelines that are generally acknowledged as a benchmark by
         governmental agencies responsible for correctional facilities. Many of our contracts in
         the United States require us to seek and maintain ACA accreditation for our facilities.
         We have sought and received ACA accreditation and re-accreditation for all such
         facilities. We achieved a median re-accreditation score of 100.0% as of December
         31, 2018. Approximately 90% of our 2018 U.S. Corrections & Detention revenue was
         derived from ACA accredited facilities for the year ended December 31, 2018. We
         have also achieved and maintained accreditation by The Joint Commission at five
         of our correctional facilities and at nine of our youth services locations. We have
         been successful in achieving and maintaining accreditation under the National
         Commission on Correctional Health Care (“NCCHC”) in a majority of the facilities
         that we currently operate. The NCCHC accreditation is a voluntary process which we
         have used to establish comprehensive health care policies and procedures to meet and
         adhere to the ACA standards. The NCCHC standards, in most cases, exceed ACA
         Health Care Standards and we have achieved this accreditation at 14 of our U.S.
         Corrections & Detention facilities and at two youth services locations. Additionally,
         B.I. Incorporated (“BI”) has achieved a certification for ISO 9001:2008 for the design,
         production, installation and servicing of products and services produced by the
         electronic monitoring business units, including electronic home arrest and electronic
         monitoring technology products and monitoring services, installation services, and
         automated caseload management services.

          126.    The statements referenced in ¶125 assured investors that GEO was “operat[ing]

   each facility in accordance with company-wide policies and procedures and with the standards and

   guidelines required under the relevant management contract” and had achieved various

   accreditations were materially false and/or misleading because Defendants misrepresented and

   failed to disclose, knowingly or recklessly disregarded: (i) the June 2018 Administrative

   Complaint regarding the Aurora Facility’s inadequate health care, and the Tenth Circuit affirming

   the class certification in the Aurora Forced Labor Case, alleging labor law violations, that was part

   of a series of cases, exposed the Company to “tens of millions” in potential damages and as high



                                                    49
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 50 of 106




   as $20 million in legal expenses (¶¶ 58-60); (ii) the 2018 reports on the Adelanto Facility’s

   inadequate detainee medical care that would lead to costly lawsuits (¶¶ 61-62); and (iii) the $1.3

   million GEO paid in fines during 2018 for excessive understaffing at the Northeast Facility which

   led to New Mexico’s most dangerous prison uprising in decades (¶¶ 65-67).

            127.    In addition, the 2018 10-K touted numerous of the Company’s “Competitive

   Strengths,” including:


           Leading Corrections Provider Uniquely Positioned to Offer a Continuum of Care

           We are the second largest provider of public-private partnership correctional and
           detention facilities worldwide and the largest provider of community-based reentry
           services, youth services and electronic monitoring services in the U.S. corrections
           industry. We believe these leading market positions and our diverse and
           complementary service offerings enable us to meet the growing demand from our
           clients for comprehensive services throughout the entire corrections lifecycle. Our
           continuum of care platform enables us to provide consistency and continuity in case
           management, which we believe results in a higher quality of care for offenders,
           reduces recidivism, lowers overall costs for our clients, improves public safety and
           facilitates successful reintegration of offenders back into society.

                                                          ***

           Large Scale Operator with National Presence

           We operate the seventh largest correctional system in the U.S. by number of beds,
           including the federal government and all 50 states. We currently have correctional
           operations in approximately 33 states and offer electronic monitoring services in every
           state. In addition, we have extensive experience in overall facility operations,
           including staff recruitment, administration, facility maintenance, food service,
           security, and in the supervision, treatment and education of inmates. We believe our
           size and breadth of service offerings enable us to generate economies of scale which
           maximize our efficiencies and allows us to pass along cost savings to our clients.
           Our national presence also positions us to bid on and develop new facilities across the
           U.S.

            128.    Finally, with respect to “Business Strategies,” the 2018 10-K stated, in relevant

   part:

           Provide High Quality, Comprehensive Services and Cost Savings Throughout the
           Corrections Lifecycle


                                                     50
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 51 of 106




         Our objective is to provide federal, state and local governmental agencies with a
         comprehensive offering of high quality, essential services at a lower cost than they
         themselves could achieve. We believe government agencies facing budgetary
         constraints will increasingly seek to outsource a greater proportion of their
         correctional needs to reliable providers that can enhance quality of service at a
         reduced cost. We believe our expanded and diversified service offerings uniquely
         position us to bundle our high quality services and provide a comprehensive
         continuum of care for our clients, which we believe will lead to lower cost
         outcomes for our clients and larger scale business opportunities for us.

          129.    The statements referenced in ¶¶127-128 regarding GEO’s ability to lower costs for

   its clients while still providing “higher quality” care and services were materially false and/or

   misleading because Defendants misrepresented and failed to disclose the following adverse facts

   pertaining to GEO’s business, operational and financial results, which were known to or recklessly

   disregarded by them: (i) the June 2018 Administrative Complaint regarding the Aurora Facility’s

   inadequate health care, and the Tenth Circuit affirming the class certification in the Aurora Forced

   Labor Case, alleging labor law violations, that was part of a series of cases, exposed the Company

   to “tens of millions” in potential damages and as high as $20 million in legal expenses (¶¶ 58-60);

   (ii) the 2018 reports on the Adelanto Facility’s inadequate detainee medical care that would lead

   to costly lawsuits (¶¶ 61-62); and (iii) the $1.3 million GEO paid in fines during 2018 for excessive

   understaffing at the Northeast Facility which led to New Mexico’s most dangerous prison uprising

   in decades (¶¶ 65-67).

          130.    Appended to the 2018 10-K as exhibits were signed certifications pursuant to the

   Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “the information

   contained in the [2019 10-K] fairly presents, in all material respects, the financial condition and

   results of operations of the Company.”

          131.    The statement referenced in ¶130 was regarding the 2018-K “fairly present[ing]”

   GEO’s financial condition and operations is materially false and/or misleading because Defendants



                                                    51
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 52 of 106




   misrepresented and failed to disclose the following adverse facts pertaining to GEO’s business,

   operational and financial results, which were known to or recklessly disregarded by them: (i) that

   GEO’s quarterly dividend levels of $0.47-$0.48 per share were only stable and predictable due to

   its ability to obtain financing from big banks like JPMorgan and WF and maintain lucrative

   contracts with governments like New Mexico and Delaware County, which were at high risk of

   being terminated due to the Company’s operational deficiencies and legal and contractual

   violations, as highlighted by intense public and political scrutiny, and (ii) that GEO would have to

   substantially cut its quarterly dividends if big banks like JPMorgan and WF stopped financing it

   and key government contracts like with New Mexico and Delaware County were terminated

   because it did not have sufficient alternative sources for capital.

          132.    On April 30, 2019, during the Company’s first quarter 2019 (“1Q19”) earnings call,

   Defendant Zoley stated that GEO’s “strong quarterly results are indicative of the stability of our

   cash flows and the sustainability of our annual dividend payments.”

          133.    Defendant Evans further stated that “[a]s we have expressed to you in the past . . .

   our dividend payments are supported by stable, predictable and growing cash flows.”

          134.    The statements referenced in ¶¶132-133 about the stability of GEO’s dividends and

   cash flows were materially false and/or misleading because Defendants misrepresented and failed

   to disclose the following adverse facts pertaining to GEO’s business, operational and financial

   results, which were known to or recklessly disregarded by them that: (i) GEO’s quarterly dividend

   levels of $0.47-$0.48 per share were only stable and predictable due to its ability to maintain

   lucrative contracts with governments like New Mexico, Delaware County, and California which

   were at high risk of being terminated due to the Company’s operational deficiencies and legal and

   contractual violations, as highlighted by intense public and political scrutiny, and (ii) GEO would




                                                    52
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 53 of 106




   have to substantially cut its quarterly dividends because it did not have sufficient alternative

   sources for capital after big banks like JPMorgan and WF stopped financing it because the other

   big banks would likely follow suit and key government contracts like with New Mexico, Delaware

   County and California were highly likely to be terminated and/or not renewed.

          135.    Defendant Zoley also stated during the 1Q19 earnings call that “[w]e have always

   enjoyed access to cost effective capital to support accretive projects with a minimum target returns

   of 13% to 15%. We expect to continue to enjoy access to cost effective capital to support the

   expansion of our high quality services.”

          136.    Defendant Evans similarly stated “we’ve always enjoyed access to cost effective

   capital and we expect to continue to have adequate access to the cost effective capital to support

   our growth. We have several decades long relationships with our banking partners and we hope

   to extend the maturity of our -- existing revolving credit facility in the near-term.”

          137.    The statements referenced in ¶¶135-136 about GEO’s ability to continue to have

   “adequate access” to capital to support expansion of its “high quality services” were materially

   false and/or misleading because Defendants misrepresented and failed to disclose the following

   adverse facts pertaining to GEO’s business, operational and financial results, which were known

   to or recklessly disregarded by them, that GEO did not have sufficient alternative sources for

   capital after big banks like JPMorgan and WF stopped financing it because the other big banks

   would likely follow suit and key government contracts like with New Mexico and Delaware

   County, and California were highly likely to be terminated and/or not renewed, particularly in light

   of the $1.3 million GEO paid in fines during 2018 for excessive understaffing at the Northeast

   Facility which had led to New Mexico’s most dangerous prison uprising in decades (¶¶65-67).




                                                    53
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 54 of 106




          138.    In his closing remarks for the 1Q19 call, Defendant Zoley stated “ICE detainees

   are provided the opportunity to receive health examination as well as follow-up treatment by the

   onsite healthcare staff as well as offsite healthcare specialists.”

          139.    The statement referenced in ¶138 about GEO giving detainees the opportunity to

   receive health examinations and treatment was materially false and/or misleading because

   Defendants misrepresented and failed to disclose, knowingly or recklessly disregarded: (i) the June

   2018 Administrative Complaint regarding the Aurora Facility’s inadequate health care and the

   Tenth Circuit affirming the class certification in the Aurora Forced Labor Case, alleging labor law

   violations, that was part of a series of cases, exposed the Company to “tens of millions” in potential

   damages and as high as $20 million in legal expenses (¶¶ 58-60) and (ii) the 2018 reports on the

   Adelanto Facility’s inadequate detainee medical care that would lead to costly lawsuits (¶¶ 61-62).

          140.    In his prepared remarks for the 1Q19 call, Defendant Donahue noted:

          [O]ur long-standing partnership with ICE to provide needed bed space and services
          that comply with the federal government’s performance based National Detention
          Standards, as well as guidelines set by the independent accrediting entities.

          The state-of-the-art residential centers we manage on behalf of ICE provide high
          quality, culturally responsive services in safe and humane environment”

                                               ***
          Now moving to our state segment, we believe our non-state correctional customers
          have stable budgets and our facilities have been able to provide high quality
          service and implement enhanced rehabilitation programs without being impacted
          by budgetary constraints.

          141.    The statements referenced in ¶140 about GEO’s ICE facilities being compliant with

   national standards and independent guidelines, a “safe and humane environment,” and providing

   “high quality services without being impacted by budgetary constraints” were materially false

   and/or misleading because Defendants misrepresented and failed to disclose, knowingly or

   recklessly disregarded: (i) the June 2018 Administrative Complaint regarding the Aurora Facility’s



                                                     54
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 55 of 106




   inadequate health care and the Tenth Circuit affirming the class certification in the Aurora Forced

   Labor Case, alleging labor law violations, that was part of a series of cases, exposed the Company

   to “tens of millions” in potential damages and as high as $20 million in legal expenses (¶¶58-60)

   and (ii) the 2018 reports on the Adelanto Facility’s inadequate detainee medical care that would

   lead to costly lawsuits (¶¶ 61-62).

          142.    In addition, during the 1Q19 earnings call, Defendant Donahue stated that “we were

   pleased to have been awarded a 10-year contract by the US Marshals for the continued operation

   of our Company-owned 222-bed Queens Detention Facility in New York. We believe this renewed

   contract is indicative of the stability of our long-standing customer partnerships as our Queens

   Facility has been in operation since the 1990s.”

          143.    The statement referenced in ¶142 about the “stability” of GEO’s “customer

   partnerships” was materially false and/or misleading because Defendants misrepresented and

   failed to disclose, knowingly or recklessly disregarded, that the Company’s contracts with New

   Mexico, Delaware County and California were at high risk of being terminated and/or not renewed

   due to the Company’s operational deficiencies and legal and contractual violations.

          144.    On May 6, 2019, GEO filed a Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended March 31, 2019 (the

   “1Q19 10-Q”) which was “duly authorized” by Defendant Evans. With respect to “Litigation,

   Claims and Assessments,” the 1Q19 10-Q stated, in relevant part:

          As previously reported and described in the Company’s prior periodic reports,
          including most recently in our Form 10-K for the year ended December 31, 2018,
          on February 8, 2017, former civil immigration detainees at the Aurora Immigration
          Detention Center filed a class action lawsuit on October 22, 2014, against the
          Company in the United States District Court for the District of Colorado (the
          “Court”). The complaint alleges that the Company was in violation of the Colorado
          Minimum Wages of Workers Act and the federal Trafficking Victims Protection
          Act (“TVPA”). The plaintiff class claims that the Company was unjustly enriched



                                                      55
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 56 of 106




         because of the level of payment the detainees received for work performed at the
         facility, even though the voluntary work program as well as the wage rates and
         standards associated with the program that are at issue in the case are authorized by
         the Federal government under guidelines approved by the United States Congress.
         On July 6, 2015, the Court found that detainees were not employees under the
         Colorado Minimum Wage Order and dismissed this claim. In February 2017, the
         Court granted the plaintiff-class’ motion for class certification. The plaintiff class
         seeks actual damages, compensatory damages, exemplary damages, punitive
         damages, restitution, attorneys’ fees and costs, and such other relief as the Court
         may deem proper. In the time since the Colorado suit was initially filed, three
         similar lawsuits have been filed - two in Washington and one in California. In
         Washington, one of the two lawsuits was filed on September 9, 2017 by
         immigration detainees against the Company in the U.S. District Court for the
         Western District of Washington. The second was filed on September 20, 2017 by
         the State Attorney General against the Company in the Superior Court of the State
         of Washington for Pierce County, which the Company removed to the U.S. District
         Court for the Western District of Washington on October 9, 2017. In California, a
         class-action lawsuit was filed on December 19, 2017 by immigration detainees
         against the Company in the U.S. District Court Eastern Division of the Central
         District of California. All three lawsuits allege violations of the respective state’s
         minimum wage laws. However, the California lawsuit, like the Colorado suit, also
         includes claims that the Company violated the TVPA and California’s equivalent
         state statute. The Company intends to take all necessary steps to vigorously defend
         itself and has consistently refuted the allegations and claims in these lawsuits. The
         Company has not recorded an accrual relating to these matters at this time, as a
         loss is not considered probable nor reasonably estimable at this stage of the
         lawsuit.

         The nature of the Company’s business exposes it to various types of third-party
         legal claims or litigation against the Company, including, but not limited to, civil
         rights claims relating to conditions of confinement and/or mistreatment, sexual
         misconduct claims brought by prisoners or detainees, medical malpractice claims,
         product liability claims, intellectual property infringement claims, claims relating
         to employment matters (including, but not limited to, employment discrimination
         claims, union grievances and wage and hour claims), property loss claims,
         environmental claims, automobile liability claims, indemnification claims by its
         customers and other third parties, contractual claims and claims for personal injury
         or other damages resulting from contact with the Company’s facilities, programs,
         electronic monitoring products, personnel or prisoners, including damages arising
         from a prisoner’s escape or from a disturbance or riot at a facility. The Company
         does not expect the outcome of any pending claims or legal proceedings to have
         a material adverse effect on its financial condition, results of operations or cash
         flows. However, the results of these claims or proceedings cannot be predicted with
         certainty, and an unfavorable resolution of one or more of these claims or
         proceedings could have a material adverse effect on the Company’s financial
         condition, results of operations or cash flows.



                                                  56
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 57 of 106




          145.    The statements referenced in ¶144 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60).

          146.    On July 30, 2019, during the second quarter 2019 (“2Q19”) earnings call,

   Defendant Zoley specifically addressed “the recent media stories regarding overcrowded border

   patrol facilities and financial institutions discontinuing future financial support for private

   operators of ICE Processing Centers,” unequivocally debunking them as being “driven by a false

   narrative and deliberate mischaracterization of our long-standing role as a quality service

   provider to ICE.”

          147.    Defendant Evans similarly “recognize[d] that since the execution of the revolver’s

   extension, recent headlines from our banking partners have created significant volatility in our

   debt and equity,” and specifically declared that “[t]his volatility is directly tied to heightened

   political rhetoric that, as George mentioned, is based on a mischaracterization of our role as a

   service provider and our overall Company record. While it is extremely disappointing that

   misleading political attacks were allowed to impact decade long banking relationships, we don’t

   believe that the recent volatility is reflective of our well-established record, strong fundamentals

   and accelerating cash flow growth.”

          148.    The statements referenced in ¶¶146-147 regarding the “false narrative” and GEO’s

   “long-standing role as a quality service provider,” “well-established record,” “strong

   fundamentals,” and “accelerating cash flow growth” were materially false and/or misleading



                                                    57
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 58 of 106




   because Defendants misrepresented and failed to disclose, knowingly or recklessly disregarded

   that: (i) the June 2018 complaint regarding the Aurora Facility’s inadequate health care and the

   Tenth Circuit’s affirming the certification of a class action alleging labor law violations that were

   part of a series of cases which exposed the Company to “tens of millions” in potential damages

   and as high as $20 million in legal expenses, and spurred Senator Warren’s July 24, 2019 letter to

   the SEC Chairman (¶¶58-60); (ii) the 2018 and 2019 reports on the Adelanto Facility’s inadequate

   detainee safety and medical care that would lead to costly lawsuits (¶¶ 61-63); (iii) the $1.3 million

   GEO paid in fines during 2018 for excessive understaffing at the Northeast Facility which led to

   New Mexico’s most dangerous prison uprising in decades and the resulting termination of the

   contract in July 2019 (¶¶ 67-69); (iv) the July 2019 letter from the House Oversight and Reform

   Committee for information about the deplorable treatment of migrants at GEO facilities (¶¶ 73-

   74); (v) its lucrative contracts with governments like Delaware County and California were at high

   risk of being terminated due to the Company’s operational deficiencies and legal and contractual

   violations, as highlighted by intense public and political scrutiny, and (vii) GEO would not have

   sufficient alternative sources for capital after big banks like JPMorgan, U.S. Bank, WF, BofA,

   Suntrust, BNP, and Fifth Third stopped financing it and New Mexico terminated its contract

   because the other big banks would likely follow suit and key government contracts like with

   Delaware County and California were highly likely to be terminated and/or not renewed.

          149.    In addition, Defendant Zoley stated during the 2Q19 call that “[t]he residential

   centers we manage on behalf of ICE are highly rated by national accreditation organizations and

   provide high-quality, culturally responsive services in a safe and humane environment.”

          150.    The statement referenced in ¶149 regarding the “safe and humane environment” of

   GEO’s ICE facilities was materially false and/or misleading because Defendants misrepresented




                                                    58
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 59 of 106




   and failed to disclose, knowingly or recklessly disregarded that: (i) the June 2018 complaint

   regarding the Aurora Facility’s inadequate health care and the Tenth Circuit’s affirming the

   certification of a class action alleging labor law violations that were part of a series of cases which

   exposed the Company to “tens of millions” in potential damages and as high as $20 million in

   legal expenses, and spurred Senator Warren’s July 24, 2019 letter to the SEC Chairman (¶¶58-60);

   (ii) the 2018 and 2019 reports on the Adelanto Facility’s inadequate detainee safety and medical

   care that would lead to costly lawsuits (¶¶ 61-63); and (iii) the July 2019 letter from the House

   Oversight and Reform Committee for information about the deplorable treatment of migrants at

   GEO facilities (¶¶ 73-74).

          151.    Also during the 2Q19 call, Defendant Zoley assured investors that GEO’s “strong

   quarterly results and new project activations are indicative of the stability of our cash flows and

   the sustainability of our annual dividend payments” and its “growing cash flows will allow us to

   naturally deleverage, while providing support for our annual dividend payments, which we expect

   to remain unchanged.”

          152.    Defendant Evans likewise assured investors that “[t]he expected growth in our cash

   flows will allow us to naturally deleverage, while providing support for our annual dividend

   payments, which we expect to be sustainable.”

          153.    The statements referenced in ¶¶151-152 about the stability of GEO’s dividends and

   cash flows were materially false and/or misleading because Defendants misrepresented and failed

   to disclose the following adverse facts pertaining to GEO’s business, operational and financial

   results, which were known to or recklessly disregarded by them: (i) that GEO’s quarterly dividend

   levels of $0.47-$0.48 per share were only stable and predictable due to its ability to maintain

   lucrative contracts with governments like Delaware County and California, which were at high




                                                     59
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 60 of 106




   risk of being terminated due to the Company’s operational deficiencies and legal and contractual

   violations, as highlighted by intense public and political scrutiny, and (ii) that GEO would have to

   substantially cut its quarterly dividends because it did not have sufficient alternative sources for

   capital after big banks like JPMorgan, U.S. Bank, WF, BofA, Suntrust, BNP, and Fifth Third

   stopped financing it and New Mexico terminated its contract because the other big banks would

   likely follow suit and key contracts like with Delaware County and California were highly likely

   to be terminated.

           154. During the Q&A session of the 2Q19 call, analyst David Stuehr of Longfellow

   Investment Management asked:

             [D]oes the REIT structure of your Company still make[] sense? I’m kind of
             curious about that because even though you say 4.5 times leverage at the end of
             2020, you can only reduce debt by so much under the REIT context. I mean,
             from a operating flexibility perspective, just knowing what you’re facing every
             four years from a administrative changeover position, when you make more
             sense to eliminate the REIT status and use as much cash flow as possible to
             rapidly pay down debt. Just to give yourself more operating flexibility on a -- in
             a survival ability under a worst case scenario perspective going forward.

          155.    In response, Defendant Zoley confirmed that:

             I don’t believe we would have serious reconsideration of our REIT status, given
             a snapshot view of recent events that are likely to last 15 months. If you look at
             our 30-year history of dealing with Republican and Democratic administrations,
             we’ve continued to grow under both. And the one attempt to reduce growth in
             the private sector was not particularly successful because of the major role the
             private sector plays in providing security for this country. I don’t think that need,
             that requirement is going to go away under a Democratic administration. Our
             southern border is a long porous border, and it borders a 1 billion people, who
             live to the south of it, that live in failed states that -- many of whom want to come
             to this country and there needs to be an orderly process to -- for them to do so.
             And I think both parties need to reach better refinement of our immigration
             policies to permit that to happen. But our Company plays no role in it. We just
             provide facilities for taking care of those few -- fewer selected ones that are
             held in these facilities -- these processing centers pending the outcome of their
             cases. As I said, those facilities are air conditioned, they’re clean, they have
             flat screen TV, they have artificial turf soccer fields. There are very
             comfortable amenities for them. And that’s the service we’ve been providing



                                                    60
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 61 of 106




             for ICE for 30 years. I don’t think that's -- that need is going to go away. We're
             not going to revise our structure because a situation that we hope is temporary
             that the heated rhetoric will die down after the next election regardless of who
             wins.

          156.    The statements referenced in ¶155 were materially false and/or misleading because

   despite the GEO’s ICE facilities being “clean” and “very comfortable,” Defendants misrepresented

   and failed to disclose, knowingly or recklessly disregarded: (i) the June 2018 complaint regarding

   the Aurora Facility’s inadequate health care and the Tenth Circuit’s affirming the certification of

   a class action alleging labor law violations that were part of a series of cases which exposed the

   Company to “tens of millions” in potential damages and as high as $20 million in legal expenses,

   and spurred Senator Warren’s July 24, 2019 letter to the SEC Chairman (¶¶58-60); (ii) the 2018

   and 2019 reports on the Adelanto Facility’s inadequate detainee safety and medical care that would

   lead to costly lawsuits (¶¶61-63); and (iii) the July 2019 letter from the House Oversight and

   Reform Committee for information about the deplorable treatment of migrants at GEO facilities

   (¶¶ 73-74).

          157.    On August 2, 2019, GEO filed a Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended June 30, 2019 (the

   “2Q19 10-Q”) which was “duly authorized” by Defendant Evans. With respect to “Litigation,

   Claims and Assessments,” the 2Q19 10-Q stated, in relevant part:

              As previously reported and described in the Company’s prior periodic reports,
             including most recently in our Form 10-Q for the quarter ended March 31, 2019,
             former civil immigration detainees at the Aurora Immigration Processing Center
             filed a class action lawsuit on October 22, 2014, against the Company in the
             United States District Court for the District of Colorado (the “Court”). The
             complaint alleges that the Company was in violation of the Colorado Minimum
             Wages of Workers Act and the federal Trafficking Victims Protection Act
             (“TVPA”). The plaintiff class claims that the Company was unjustly enriched
             because of the level of payment the detainees received for work performed at the
             facility, even though the voluntary work program as well as the wage rates and
             standards associated with the program that are at issue in the case are authorized



                                                   61
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 62 of 106




           by the Federal government under guidelines approved by the United States
           Congress. On July 6, 2015, the Court found that detainees were not employees
           under the Colorado Minimum Wage Order and dismissed this claim. In February
           2017, the Court granted the plaintiff-class’ motion for class certification. The
           plaintiff class seeks actual damages, compensatory damages, exemplary
           damages, punitive damages, restitution, attorneys’ fees and costs, and such other
           relief as the Court may deem proper. In the time since the Colorado suit was
           initially filed, three similar lawsuits have been filed - two in Washington and one
           in California. In Washington, one of the two lawsuits was filed on September 9,
           2017 by immigration detainees against the Company in the U.S. District Court
           for the Western District of Washington. The second was filed on September 20,
           2017 by the State Attorney General against the Company in the Superior Court
           of the State of Washington for Pierce County, which the Company removed to
           the U.S. District Court for the Western District of Washington on October 9,
           2017. In California, a class-action lawsuit was filed on December 19, 2017 by
           immigration detainees against the Company in the U.S. District Court Eastern
           Division of the Central District of California. All three lawsuits allege violations
           of the respective state’s minimum wage laws. However, the California lawsuit,
           like the Colorado suit, also includes claims that the Company violated the TVPA
           and California's equivalent state statute. On July 2, 2019, the Company filed a
           Motion for Summary Judgment in the Washington Attorney General’s Tacoma
           lawsuit based on the Company’s position that its legal defenses prevent the case
           from proceeding to trial. The Company intends to take all necessary steps to
           vigorously defend itself and has consistently refuted the allegations and claims
           in these lawsuits. The Company has not recorded an accrual relating to these
           matters at this time, as a loss is not considered probable nor reasonably
           estimable at this stage of the lawsuits. We establish accruals for specific legal
           proceedings when it is considered probable that a loss has been incurred and the
           amount of the loss can be reasonably estimated. However, the results of these
           claims or proceedings cannot be predicted with certainty, and an unfavorable
           resolution of one or more of these claims or proceedings could have a material
           adverse effect on the Company’s financial condition, results of operations or
           cash flows. Our accruals for loss contingencies are reviewed quarterly and
           adjusted as additional information becomes available. We do not accrue for
           anticipated legal fees and costs, but expense those items as incurred.

           The nature of the Company’s business exposes it to various types of third-party
           legal claims or litigation against the Company, including, but not limited to, civil
           rights claims relating to conditions of confinement and/or mistreatment, sexual
           misconduct claims, medical malpractice claims, claims relating to the TVPA,
           product liability claims, intellectual property infringement claims, claims
           relating to employment laws (including, but not limited to, employment
           discrimination claims, union grievances and wage and hour claims), property
           loss claims, environmental claims, automobile liability claims, indemnification
           claims by its customers and other third parties, contractual claims and claims for
           personal injury or other damages resulting from contact with the Company's



                                                  62
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 63 of 106




             facilities, programs, electronic monitoring products, personnel, inmates or
             detainees, including damages arising from an escape or from a disturbance or
             riot at a facility. Expenses associated with legal proceedings may fluctuate from
             quarter to quarter based on the level of activity required during the different
             stages of legal proceedings, new developments that arise in the course of the
             legal proceedings, and the Company’s litigation strategy. The Company does
             not expect the outcome of any pending claims or legal proceedings to have a
             material adverse effect on its financial condition, results of operations or cash
             flows. However, the results of these claims or proceedings cannot be predicted
             with certainty, and an unfavorable resolution of one or more of these claims or
             proceedings could have a material adverse effect on the Company’s financial
             condition, results of operations or cash flows.

          158.    The statements referenced in ¶157 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60).

          159.    On November 5, 2019, during the third quarter 2019 (“3Q19”) earnings call,

   Defendant Zoley again specifically addressed the “media coverage of overcrowded border patrol

   facilities and the announcement by a handful of our financial institutions discontinuing future

   financing,” declaring that “this volatility has been driven by a false narrative and deliberate

   mischaracterization of our long-standing role as a quality service provider to ICE.”

          160.    Defendant Evans likewise stated that the “heightened political rhetoric that as

   George mentioned is based on a mischaracterization of our role as a service provider and our

   overall company record.”

          161.    The statements referenced in ¶¶159-160 regarding the “false narrative” and GEO’s

   “long-standing role as a quality service provider” and “overall company record” were materially

   false and/or misleading because Defendants misrepresented and failed to disclose, knowingly or



                                                    63
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 64 of 106




   recklessly disregarded that: (i) the June 2018 complaint regarding the Aurora Facility’s inadequate

   health care and the Tenth Circuit’s affirming the certification of a class action alleging labor law

   violations that were part of a series of cases which exposed the Company to “tens of millions” in

   potential damages and as high as $20 million in legal expenses, and spurred Senator Warren’s July

   24, 2019 letter to the SEC Chairman (¶¶58-60); (ii) the 2018 and 2019 reports on the Adelanto

   Facility’s inadequate detainee safety and medical care that led to the filing of a class action lawsuit

   in August 2019 (¶¶62-63); (iii) the $1.3 million GEO paid in fines during 2018 for excessive

   understaffing at the Northeast Facility which led to New Mexico’s most dangerous prison uprising

   in decades and the resulting termination of the contract in July 2019 (¶¶67-69); and (iv) the July

   2019 letter from the House Oversight and Reform Committee for information about the deplorable

   treatment of migrants at GEO facilities (¶¶ 73-74).

          162.    Defendant Evans further recognized during the 3Q19 call that the “new stories

   regarding our banking partners have created significant volatility in our debt and equity markets,”

   but dismissed them as part of “a significant amount of misinformation regarding our banking

   partners and our access to capital including a recent online opinion editorial on Forbes which

   provided misleading and false information. Contrary to these misleading claims we continue to

   enjoy access to capital with several dozens of lenders and financial institutions currently in our

   senior credit facility.” He added that “the handful of bank announcements [by JPMorgan and WF

   ‘not extend[ing] future financing arrangements to our industry’] have not impacted our operations

   or financial flexibility,” “[c]ontinued growth in our cash flows will allow us to naturally

   deleverage while providing support for our annual dividend payment,” and “[w]e expect to have

   between $50 million and $75 million in excess cash flow annually to apply toward paying down

   debt while maintaining our current dividend payments.”




                                                     64
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 65 of 106




          163.    The statements referenced in ¶162 about the stability of GEO’s dividends and cash

   flows were materially false and/or misleading because Defendants misrepresented and failed to

   disclose the following adverse facts pertaining to GEO’s business, operational and financial

   results, which were known to or recklessly disregarded by them: (i) that GEO’s quarterly dividend

   levels of $0.47-$0.48 per share were only stable and predictable due to its ability to maintain

   lucrative contracts with governments like Delaware County and California which were at high risk

   of being terminated and/or not renewed due to the Company’s operational deficiencies and legal

   and contractual violations, as highlighted by intense public and political scrutiny, and (ii) that GEO

   would have to substantially cut its quarterly dividends because it did not have sufficient alternative

   sources for capital after big banks like JPMorgan, U.S. Bank, WF, BofA, Suntrust, BNP, and Fifth

   Third stopped financing it and New Mexico terminated its contract because the other big banks

   would likely follow suit and key government contracts like with Delaware County and California

   were highly likely to be terminated and/or not be renewed.

          164.    In addition, Defendant Zoley stated during the 3Q19 call that:

          [T]he residential centers we manage on behalf of ICE are highly rated by national
          accreditation organizations and provide high-quality, culturally responsive services
          in a safe and humane environment. . . . The residents are provided with hot meals
          clothing 24/7 access to healthcare services and full access to telephones and legal
          services. Healthcare staffing at our ICE processing centers is approximately 100%
          more than that of our state correctional facilities….

          165.    The statements referenced in ¶163 regarding the “safe and humane environment”

   of GEO’s ICE facilities and the “24/7 access to healthcare” were materially false and/or misleading

   because Defendants misrepresented and failed to disclose, knowingly or recklessly disregarded:

   (i) the June 2018 complaint regarding the Aurora Facility’s inadequate health care and the Tenth

   Circuit’s affirming the certification of a class action alleging labor law violations that were part of

   a series of cases which exposed the Company to “tens of millions” in potential damages and as



                                                     65
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 66 of 106




   high as $20 million in legal expenses, and spurred Senator Warren’s July 24, 2019 letter to the

   SEC Chairman (¶¶58-60); (ii) the 2018 and 2019 reports on the Adelanto Facility’s inadequate

   detainee safety and medical care that led to the filing of a class action lawsuit in August 2019

   (¶¶61-63); and (iii) the July 2019 letter from the House Oversight and Reform Committee for

   information about the deplorable treatment of migrants at GEO facilities (¶¶ 73-74).

          166.    Lastly during the 3Q19 call, Defendant Donahue briefly stated, “as we have

   previously announced we discontinued the managed-only contract at the 625-bed Northeast New

   Mexico detention facility which had been financially underperforming for several years.”

          167.    The statement referenced in ¶163 regarding the Northeast Facility “financially

   underperforming” was materially false and/or misleading because Defendants misrepresented and

   failed to disclose, knowingly or recklessly disregarded, the $1.3 million GEO paid in fines during

   2018 for excessive understaffing at the Northeast Facility which led to New Mexico’s most

   dangerous prison uprising in decades and contributed to the termination of the contract in July

   2019 (¶¶67-69).

           168. On November 7, 2019, GEO filed a Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended September 30, 2019

   (the “3Q19 10-Q”) which was “duly authorized” by defendant Evans. With respect to “Litigation,

   Claims and Assessments,” the 3Q19 10-Q stated, in relevant part:

          As previously reported and described in the Company's prior periodic reports,
          including most recently in our Form 10-Q for the quarter ended June 30, 2019,
          former civil immigration detainees at the Aurora Immigration Processing Center
          filed a class action lawsuit on October 22, 2014, against the Company in the United
          States District Court for the District of Colorado (the “Court”). The complaint
          alleges that the Company was in violation of the Colorado Minimum Wages of
          Workers Act and the federal Trafficking Victims Protection Act (“TVPA”). The
          plaintiff class claims that the Company was unjustly enriched because of the level
          of payment the detainees received for work performed at the facility, even though
          the voluntary work program as well as the wage rates and standards associated with



                                                  66
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 67 of 106




         the program that are at issue in the case are authorized by the Federal government
         under guidelines approved by the United States Congress. On July 6, 2015, the
         Court found that detainees were not employees under the Colorado Minimum Wage
         Order and dismissed this claim. In February 2017, the Court granted the plaintiff-
         class’ motion for class certification on the TVPA and unjust enrichment claims.
         The plaintiff class seeks actual damages, compensatory damages, exemplary
         damages, punitive damages, restitution, attorneys’ fees and costs, and such other
         relief as the Court may deem proper. In the time since the Colorado suit was initially
         filed, three similar lawsuits have been filed - two in Washington and one in
         California. In Washington, one of the two lawsuits was filed on September 9, 2017
         by immigration detainees against the Company in the U.S. District Court for the
         Western District of Washington. The second lawsuit was filed on September 20,
         2017 by the State Attorney General against the Company in the Superior Court of
         the State of Washington for Pierce County, which the Company removed to the
         U.S. District Court for the Western District of Washington on October 9, 2017. In
         California, a class-action lawsuit was filed on December 19, 2017 by immigration
         detainees against the Company in the U.S. District Court Eastern Division of the
         Central District of California. All three lawsuits allege violations of the respective
         state’s minimum wage laws. However, the California lawsuit, like the Colorado
         suit, also includes claims that the Company violated the TVPA and California’s
         equivalent state statute. On September 27, 2019, the California plaintiff class filed
         a motion for class certification of both California-based and nationwide classes.
         The Company filed a response to this motion disputing the plaintiff class’ right to
         broad class treatment of the claims at issue. On July 2, 2019, the Company filed a
         Motion for Summary Judgment in the Washington Attorney General’s Tacoma
         lawsuit based on the Company’s position that its legal defenses prevent the case
         from proceeding to trial. The federal court in Washington denied the Company’s
         Motion for Summary Judgment on August 6, 2019. However, on August 20, 2019,
         the Department of Justice filed a Statement of Interest, which asked the Washington
         court to revisit its prior denial of the Company's intergovernmental immunity
         defense in the case. While the Washington court ultimately elected not to dismiss
         the case at the time, its order importantly declared that the Company’s
         intergovernmental immunity defense was legally viable, to be ultimately
         determined at trial. The two Washington cases are currently set for trial in March
         2020. The Company intends to take all necessary steps to vigorously defend itself
         and has consistently refuted the allegations and claims in these lawsuits. The
         Company has not recorded an accrual relating to these matters at this time, as a
         loss is not considered probable nor reasonably estimable at this stage of the
         lawsuits. The Company establishes accruals for specific legal proceedings when it
         is considered probable that a loss has been incurred and the amount of the loss can
         be reasonably estimated. However, the results of these claims or proceedings cannot
         be predicted with certainty, and an unfavorable resolution of one or more of these
         claims or proceedings could have a material adverse effect on the Company’s
         financial condition, results of operations or cash flows. Our accruals for loss
         contingencies are reviewed quarterly and adjusted as additional information




                                                  67
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 68 of 106




          becomes available. We do not accrue for anticipated legal fees and costs, but
          expense those items as incurred.

          The nature of the Company’s business exposes it to various types of third-party
          legal claims or litigation against the Company, including, but not limited to, civil
          rights claims relating to conditions of confinement and/or mistreatment, sexual
          misconduct claims, medical malpractice claims, claims relating to the TVPA,
          product liability claims, intellectual property infringement claims, claims relating
          to employment laws (including, but not limited to, employment discrimination
          claims, union grievances and wage and hour claims), property loss claims,
          environmental claims, automobile liability claims, indemnification claims by its
          customers and other third parties, contractual claims and claims for personal injury
          or other damages resulting from contact with the Company’s facilities, programs,
          electronic monitoring products, personnel, inmates or detainees, including damages
          arising from an escape or from a disturbance or riot at a facility. Expenses
          associated with legal proceedings may fluctuate from quarter to quarter based on
          the level of activity required during the different stages of legal proceedings, new
          developments that arise in the course of the legal proceedings, and the Company’s
          litigation strategy. The Company does not expect the outcome of any pending
          claims or legal proceedings to have a material adverse effect on its financial
          condition, results of operations or cash flows. However, the results of these claims
          or proceedings cannot be predicted with certainty, and an unfavorable resolution of
          one or more of these claims or proceedings could have a material adverse effect on
          the Company's financial condition, results of operations or cash flows.

          169.    The statements referenced in ¶165 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60).

          170.    On February 12, 2020, during the 4Q19 earnings call, Defendant Evans again

   maintained that GEO “continue[s] to enjoy access to capital with several dozens of lenders and

   financial institutions” and its “dividend payments continue to be supported by our cash flows

   and earnings.”

          171.    The statements referenced in ¶¶167 about the GEO’s “access to capital” were



                                                    68
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 69 of 106




   materially false and/or misleading because Defendants misrepresented and failed to disclose the

   following adverse facts pertaining to GEO’s business, operational and financial results, which

   were known to or recklessly disregarded by them: (i) that GEO’s quarterly dividend levels of

   $0.47-$0.48 per share were only stable and predictable due to its ability to maintain lucrative

   contracts with governments like Delaware County, which were at high risk of being terminated

   due to the Company’s operational deficiencies and legal and contractual violations, as highlighted

   by intense public and political scrutiny, (ii) that GEO would have to substantially cut its quarterly

   dividends because it did not have sufficient alternative sources for capital after big banks like

   JPMorgan, U.S. Bank, WF, BofA, Suntrust, BNP, Fifth Third and PNC stopped financing it and

   New Mexico terminated its contract because the other big banks would likely follow suit and key

   government contracts like with Delaware County and California were highly likely to be

   terminated and/or not renewed; (iii) that as a result of reduced cash flows, GEO did not have

   sufficient capital to adequately respond to adequately respond to and manage infectious disease

   outbreaks in its facilities, subjecting residents and employees of the Company’s facilities to

   significant health risks as the COVID-19 pandemic; (iv) that to salvage its dwindling revenue,

   GEO would exacerbate the spread of COVID-19 in its facilities by not reducing populations by

   releasing detainees at high risk of COVID infection or COVID-related health complications and/or

   not accepting new detainees until ordered by a court; and (iv) that as a result of its woefully

   inadequate response to the COVID-19 pandemic, the Company was vulnerable to significant

   financial and/or reputational harm.

          172.    Also, during the 4Q19 call, Defendant Donahue stated that “[w]e believe our

   remaining state correctional customers have stable budgets and we’ve been able to continue to

   provide high quality services in those states.”




                                                     69
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 70 of 106




          173.    The statement referenced in ¶¶169 regarding GEO’s continued “high quality

   services” to state correctional customers was materially false and/or misleading because

   Defendants misrepresented and failed to disclose, knowingly or recklessly disregarded, (i) the $1.3

   million GEO paid in fines during 2018 for excessive understaffing at the Northeast Facility which

   led to New Mexico’s most dangerous prison uprising in decades and contributed to the termination

   of the contract in July 2019 (¶¶67-69); and (ii) that systemwide inaction in response to potential

   COVID-19 infections was the norm at GEO facilities, reflecting callous indifference to the safety

   and well-being of detainees, unless and until a court ordered safety measures such as general

   reducing of facility populations, releasing individuals at high-risk of infection or death, limiting

   transfers between facilities, cleaning and disinfecting common areas and shared items by

   professionally trained cleaning staff with appropriate equipment and supplies, and testing regularly

   to identify and isolate infected, asymptomatic individuals.

          174.    On February 26, 2020, GEO filed an Annual Report on Form 10-K with the SEC,

   reporting the Company’s financial and operating results for the quarter ended December 31, 2019

   (the “2019 10-K”). With respect to “Quality of Operations,” the 2019 10-K stated, in relevant part:

          We operate each facility in accordance with our company-wide policies and
          procedures and with the standards and guidelines required under the relevant
          management contract. For many facilities, the standards and guidelines include
          those established by the American Correctional Association, or (“ACA”). The ACA
          is an independent organization of corrections professionals, which establishes
          correctional facility standards and guidelines that are generally acknowledged as a
          benchmark by governmental agencies responsible for correctional facilities. Many
          of our contracts in the United States require us to seek and maintain ACA
          accreditation for our facilities. We have sought and received ACA accreditation
          and re-accreditation for all such facilities. We achieved a median re-accreditation
          score of 100% as of December 31, 2019. Approximately 90% of our 2019 U.S.
          Secure Services revenue was derived from ACA accredited facilities for the year
          ended December 31, 2019. We have also achieved and maintained accreditation
          by The Joint Commission at five of our secure service facilities and at nine of our
          youth services locations. We have been successful in achieving and maintaining
          accreditation under the National Commission on Correctional Health Care



                                                   70
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 71 of 106




          (“NCCHC”) in a majority of the facilities that we currently operate. The NCCHC
          accreditation is a voluntary process which we have used to establish comprehensive
          health care policies and procedures to meet and adhere to the ACA standards. The
          NCCHC standards, in most cases, exceed ACA Health Care Standards and we have
          achieved this accreditation at 14 of our U.S. Secure Services facilities and at one
          youth services location. Additionally, B.I. Incorporated (“BI”) has achieved a
          certification for ISO 9001:2008 for the design, production, installation and
          servicing of products and services produced by the electronic monitoring business
          units, including electronic home arrest and electronic monitoring technology
          products and monitoring services, installation services, and automated caseload
          management services.

          175.    The statements referenced in ¶¶171 assured investors that GEO was “operat[ing]

   each facility in accordance with company-wide policies and procedures and with the standards

   and guidelines required under the relevant management contract” and had achieved various

   accreditations were materially false and/or misleading because Defendants misrepresented and

   failed to disclose, knowingly or recklessly disregarded: (i) the June 2018 complaint regarding the

   Aurora Facility’s inadequate health care and the Tenth Circuit’s affirming the certification of a

   class action alleging labor law violations that were part of a series of cases which exposed the

   Company to “tens of millions” in potential damages and as high as $20 million in legal expenses,

   and spurred Senator Warren’s July 24, 2019 letter to the SEC Chairman (¶¶58-60); (ii) the 2018

   and 2019 reports on the Adelanto Facility’s inadequate detainee safety and medical care that led

   to the filing of a class action lawsuit in August 2019 (¶¶61-63); (iii) the $1.3 million GEO paid in

   fines during 2018 for excessive understaffing at the Northeast Facility which led to New Mexico’s

   most dangerous prison uprising in decades and the resulting termination of the contract in July

   2019 (¶¶67-69); and (iv) the July 2019 letter from the House Oversight and Reform Committee

   for information about the deplorable treatment of migrants at GEO facilities (¶¶ 73-74).

          176.    In addition, the 2019 10-K touted numerous of the Company’s “Competitive

   Strengths,” including:

          Leading Secure Services Provider Uniquely Positioned to Offer a Continuum of Care


                                                   71
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 72 of 106




           We are the second largest provider of public-private partnership secure services and
           processing center facilities worldwide and the largest provider of community-based
           reentry services, youth services and electronic monitoring services in the U.S.
           secure services sector. We believe these leading market positions and our diverse
           and complementary service offerings enable us to meet the growing demand from
           our clients for comprehensive services throughout the entire corrections lifecycle.
           Our continuum of care platform enables us to provide consistency and continuity
           in case management, which we believe results in a higher quality of care for
           individuals in our care, reduces recidivism, lowers overall costs for our clients,
           improves public safety and facilitates successful reintegration of individuals back
           into society.

                                                 ***
           Large Scale Operator with National Presence

           We operate the seventh largest correctional system in the U.S. by number of beds,
           including the federal government and all 50 states. We currently have secure
           services operations in approximately 33 states and offer electronic monitoring
           services in every state. In addition, we have extensive experience in overall facility
           operations, including staff recruitment, administration, facility maintenance, food
           service, security, and in the supervision, treatment and education of individuals
           within our care. We believe our size and breadth of service offerings enable us to
           generate economies of scale which maximize our efficiencies and allows us to
           pass along cost savings to our clients. Our national presence also positions us to
           bid on and develop new facilities across the U.S.

           177.   Finally, with respect to “Business Strategies,” the 2019 10-K stated, in relevant

   part:

           Provide High Quality, Comprehensive Services and Cost Savings Throughout the
           Corrections Lifecycle

           Our objective is to provide federal, state and local governmental agencies with a
           comprehensive offering of high quality, essential services at a lower cost than they
           themselves could achieve. We believe government agencies facing budgetary
           constraints will increasingly seek to outsource a greater proportion of their
           correctional needs to reliable providers that can enhance quality of service at a
           reduced cost. We believe our expanded and diversified service offerings uniquely
           position us to bundle our high quality services and provide a comprehensive
           continuum of care for our clients, which we believe will lead to lower cost
           outcomes for our clients and larger scale business opportunities for us.

           178.   The statements referenced in ¶¶173-174 regarding GEO’s ability to lower costs for

   its clients while still providing “higher quality” care and services were materially false and/or


                                                    72
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 73 of 106




   misleading because Defendants misrepresented and failed to disclose the following adverse facts

   pertaining to GEO’s business, operational and financial results, which were known to or recklessly

   disregarded by them: (i) the June 2018 complaint regarding the Aurora Facility’s inadequate health

   care and the Tenth Circuit’s affirming the certification of a class action alleging labor law

   violations that were part of a series of cases which exposed the Company to “tens of millions” in

   potential damages and as high as $20 million in legal expenses, and spurred Senator Warren’s July

   24, 2019 letter to the SEC Chairman (¶¶58-60); (ii) the 2018 and 2019 reports on the Adelanto

   Facility’s inadequate detainee safety and medical care that led to the filing of a class action lawsuit

   in August 2019 (¶¶61-63); (iii) the $1.3 million GEO paid in fines during 2018 for excessive

   understaffing at the Northeast Facility which led to New Mexico’s most dangerous prison uprising

   in decades and the resulting termination of the contract in July 2019 (¶¶65-67); (iv) the July 2019

   letter from the House Oversight and Reform Committee for information about the deplorable

   treatment of migrants at GEO facilities (¶¶ 73-74); and (v) the quickly approaching COVID-19

   crisis would result in skyrocketing costs and declining revenues, thus systemwide inaction in

   response to potential COVID-19 infections would be the norm at GEO facilities, reflecting callous

   indifference to the safety and well-being of detainees, unless and until a court ordered safety

   measures such as general population reductions, releasing individuals at high-risk of infection or

   death, limiting transfers between facilities, cleaning and disinfecting common areas and shared

   items by professionally trained cleaning staff with appropriate equipment and supplies, and testing

   regularly to identify and isolate infected, asymptomatic individuals.

          179.      With respect to “Litigation, Claims and Assessments,” the 2019 10-K stated, in

   relevant part:

          As previously reported and described in the Company’s prior periodic reports,
          including most recently in its Form 10-Q for the quarter ended September 30, 2019,



                                                     73
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 74 of 106




         former civil immigration detainees at the Aurora Immigration Processing Center
         filed a class action lawsuit on October 22, 2014, against the Company in the United
         States District Court for the District of Colorado (the “Court”). The complaint
         alleges that the Company was in violation of the Colorado Minimum Wages of
         Workers Act and the federal Trafficking Victims Protection Act (“TVPA”). The
         plaintiff class claims that the Company was unjustly enriched because of the level
         of payment the detainees received for work performed at the facility, even though
         the voluntary work program as well as the wage rates and standards associated with
         the program that are at issue in the case are authorized by the Federal government
         under guidelines approved by the United States Congress. On July 6, 2015, the
         Court found that detainees were not employees under the Colorado Minimum Wage
         Order and dismissed this claim. In February 2017, the Court granted the plaintiff-
         class’ motion for class certification on the TVPA and unjust enrichment claims.
         The plaintiff class seeks actual damages, compensatory damages, exemplary
         damages, punitive damages, restitution, attorneys’ fees and costs, and such other
         relief as the Court may deem proper. In the time since the Colorado suit was initially
         filed, three similar lawsuits have been filed - two in Washington and one in
         California. In Washington, one of the two lawsuits was filed on September 9, 2017
         by immigration detainees against the Company in the U.S. District Court for the
         Western District of Washington. The second lawsuit was filed on September 20,
         2017 by the State Attorney General against the Company in the Superior Court of
         the State of Washington for Pierce County, which the Company removed to the
         U.S. District Court for the Western District of Washington on October 9, 2017. In
         California, a class-action lawsuit was filed on December 19, 2017 by immigration
         detainees against the Company in the U.S. District Court Eastern Division of the
         Central District of California. All three lawsuits allege violations of the respective
         state’s minimum wage laws. However, the California lawsuit, like the Colorado
         suit, also includes claims that the Company violated the TVPA and California’s
         equivalent state statute. On September 27, 2019, the California plaintiff class filed
         a motion for class certification of both California-based and nationwide classes.
         The Company filed a response to this motion disputing the plaintiff class’ right to
         broad class treatment of the claims at issue. On July 2, 2019, the Company filed a
         Motion for Summary Judgment in the Washington Attorney General’s Tacoma
         lawsuit based on the Company’s position that its legal defenses prevent the case
         from proceeding to trial. The federal court in Washington denied the Company’s
         Motion for Summary Judgment on August 6, 2019. However, on August 20, 2019,
         the Department of Justice filed a Statement of Interest, which asked the Washington
         court to revisit its prior denial of the Company's intergovernmental immunity
         defense in the case. While the Washington court ultimately elected not to dismiss
         the case at the time, its order importantly declared that the Company's
         intergovernmental immunity defense was legally viable, to be ultimately
         determined at trial. The two Washington cases are currently set for trial in April
         2020. The Company intends to take all necessary steps to vigorously defend itself
         and has consistently refuted the allegations and claims in these lawsuits. The
         Company has not recorded an accrual relating to these matters at this time, as a
         loss is not considered probable nor reasonably estimable at this stage of the



                                                  74
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 75 of 106




          lawsuits. The Company establishes accruals for specific legal proceedings when it
          is considered probable that a loss has been incurred and the amount of the loss can
          be reasonably estimated. However, the results of these claims or proceedings cannot
          be predicted with certainty, and an unfavorable resolution of one or more of these
          claims or proceedings could have a material adverse effect on the Company’s
          financial condition, results of operations or cash flows. The Company’s accruals
          for loss contingencies are reviewed quarterly and adjusted as additional information
          becomes available. The Company does not accrue for anticipated legal fees and
          costs but expenses those items as incurred.

          On December 30, 2019, GEO filed a lawsuit for declaratory and injunctive relief
          challenging California’s newly enacted law - Assembly Bill 32 (AB-32) - which
          bars the federal government from engaging GEO or any other government
          contractors to provide detention services for illegal aliens. GEO’s claims, as
          described in the lawsuit, are grounded in authoritative legal doctrine that under the
          Constitution’s Supremacy Clause, the federal government is free from regulation
          by any state. By prohibiting federal detention facilities in California, the lawsuit
          argues AB-32 substantially interferes with the ability of USMS and ICE to carry
          out detention responsibilities for the federal government. Secondly, because AB-
          32 creates exceptions to the State when using GEO or any government contractors
          (to alleviate overcrowding), California’s statute unlawfully discriminates against
          the federal government. On December 31, 2019, GEO filed its motion for a
          preliminary injunction restraining California’s Governor and Attorney General
          from enforcing AB-32 against GEO’s detention facilities on behalf of USMS and
          ICE.

          The nature of the Company’s business exposes it to various types of third-party
          legal claims or litigation against the Company, including, but not limited to, civil
          rights claims relating to conditions of confinement and/or mistreatment, sexual
          misconduct claims brought by prisoners or detainees, medical malpractice claims,
          product liability claims, intellectual property infringement claims, claims relating
          to employment matters (including, but not limited to, employment discrimination
          claims, union grievances and wage and hour claims), property loss claims,
          environmental claims, automobile liability claims, indemnification claims by its
          customers and other third parties, contractual claims and claims for personal injury
          or other damages resulting from contact with the Company’s facilities, programs,
          electronic monitoring products, personnel or prisoners, including damages arising
          from a prisoner’s escape or from a disturbance or riot at a facility. The Company
          accrues for legal costs associated with loss contingencies when those costs are
          probable and reasonably estimable. The Company does not expect the outcome of
          any pending claims or legal proceedings to have a material adverse effect on its
          financial condition, results of operations or cash flows.

          180.   The statements referenced in ¶176 regarding the Company’s legal accruals and the

   materiality of lawsuits against it were materially false and/or misleading because Defendants



                                                   75
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 76 of 106




   misrepresented and failed to disclose, knowingly or recklessly disregarded, (i) that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60) and (ii) that if forced

   to close its facilities by AB-32, GEO “would lose an average of $250 million a year in revenue

   over the next 15 years, plus the $300 million invested in acquiring and setting up those buildings”

   (¶¶214).

           181.    Appended to the 2019 10-K as exhibits were signed SOX certifications by the

   Individual Defendants, attesting that “the information contained in the [2019 10-K] fairly presents,

   in all material respects, the financial condition and results of operations of the Company.”

           182.    The statements referenced in ¶178 were materially false and/or misleading because

   Defendants misrepresented and failed to disclose the following adverse facts pertaining to GEO’s

   business, operational and financial results, which were known to or recklessly disregarded by

   them: (i) that GEO’s quarterly dividend levels of $0.47-$0.48 per share were only stable and

   predictable due to its ability to maintain lucrative contracts with governments like Delaware

   County, which were at high risk of being terminated due to the Company’s operational deficiencies

   and legal and contractual violations, as highlighted by intense public and political scrutiny, (ii) that

   GEO would have to substantially cut its quarterly dividends because it did not have sufficient

   alternative sources for capital after big banks like JPMorgan, U.S. Bank, WF, BofA, Suntrust,

   BNP, Fifth Third and PNC stopped financing it and New Mexico terminated its contract because

   the other big banks would likely follow suit and key government contracts like with Delaware

   County were highly likely to be terminated; (iii) that as a result of reduced cash flows, GEO did

   not have sufficient capital to adequately respond to and manage infectious disease outbreaks in its




                                                     76
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 77 of 106




   facilities, subjecting residents and employees of the Company’s facilities to significant health risks

   as the COVID-19 pandemic progressed; (iv) that to salvage its dwindling revenue, GEO would

   exacerbate the spread of COVID-19 in its facilities by not reducing populations by releasing

   detainees at high risk of COVID infection or COVID-related health complications and/or not

   accepting new detainees until ordered by a court; and (v) that as a result of its woefully inadequate

   response to the COVID-19 pandemic, the Company was vulnerable to significant financial and/or

   reputational harm.

           183.    On April 30, 2020, during the 1Q20 earnings call, Defendant Zoley assured the

   market that “[d]espite this quarter’s many challenges, our revenues and cash flows remained

   resilient and continue to support our dividend payments” and GEO “ha[s] adequate liquidity and

   access to capital.”

           184.    Subsequently, an analyst from Poptech, LP asked Defendant Zoley, “[y]ou said

   something to the effect that your results are adequate to cover the dividend. Does that imply that

   the dividend is safer now? . . . how far out is it did you see that it’s safe?”

           185.    In response, Defendant Zoley confirmed that “Well, it’s certainly safe consistent

   with our forecast our guidance.”

           186.    The statements referenced in ¶¶183 about GEO’s cash flows remaining “resilient”

   and its dividends being “safe” were materially false and/or misleading because Defendants

   misrepresented and failed to disclose the following adverse facts pertaining to GEO’s business,

   operational and financial results, which were known to or recklessly disregarded by them: (i) that

   GEO would have to substantially cut its quarterly dividends because it did not have sufficient

   alternative sources for capital after big banks like JPMorgan, U.S. Bank, WF, BofA, Suntrust,

   BNP, Fifth Third and PNC stopped financing it and New Mexico and Delaware County terminated




                                                      77
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 78 of 106




   their contracts because the other big banks would likely follow suit; (ii) that as a result of reduced

   cash flows, GEO did not have sufficient capital to adequately respond to and manage infectious

   disease outbreaks in its facilities, subjecting residents and employees of the Company’s facilities

   to significant health risks as the COVID-19 pandemic progressed; (iii) that to salvage its dwindling

   revenue, GEO would exacerbate the spread of COVID-19 in its facilities by not reducing

   populations by releasing detainees at high risk of COVID infection or COVID-related health

   complications and/or not accepting new detainees until ordered by a court; and (iv) that as a result

   of its woefully inadequate response to the COVID-19 pandemic, the Company was vulnerable to

   significant financial and/or reputational harm.

          187.    During the 1Q20 call, analyst Mitra Ramgopal of Sidoti sought confirmation that

   GEO pulling in capex was “probably more just reduced opportunities in the near-term given the

   environment as opposed to more liquidity issues. Is that fair?”

          188.    That’s correct. I think we looked at -- we changed the growth capex a little bit, but

   most of the reduction was on the maintenance side. And I think that’s just deferring and pushing

   some stuff out a little bit further, so no liquidity issues just trying to find some offsets to the

   reductions that we had to take on the revenue side.

          189.    The statements referenced in ¶¶ 187-188 about GEO’s lack of liquidity issues were

   materially false and/or misleading because Defendants misrepresented and failed to disclose the

   following adverse facts pertaining to GEO’s business, operational and financial results, which

   were known to or recklessly disregarded by them: (i) that GEO would have to substantially cut its

   quarterly dividends because it did not have sufficient alternative sources for capital after big banks

   like JPMorgan, U.S. Bank, WF, BofA, Suntrust, BNP, Fifth Third and PNC stopped financing it

   and New Mexico and Delaware County terminated their contracts because the other big banks




                                                     78
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 79 of 106




   would likely follow suit; (ii) that as a result of reduced cash flows, GEO did not have sufficient

   capital to adequately respond to and manage infectious disease outbreaks in its facilities, subjecting

   residents and employees of the Company’s facilities to significant health risks as the COVID-19

   pandemic progressed; (iii) that to salvage its dwindling revenue, GEO would exacerbate the spread

   of COVID-19 in its facilities by not reducing populations by releasing detainees at high risk of

   COVID infection or COVID-related health complications and/or not accepting new detainees until

   ordered by a court; and (iv) that as result of its woefully inadequate response to the COVID-19

   pandemic, the Company was vulnerable to significant financial and/or reputational harm.

          190.    In addition, Defendant Zoley stated during the 1Q20 call that “[t]he residential

   centers we manage on behalf of ICE are highly rated by national accreditation organizations and

   provide high quality, culturally responsive services in a safe and humane environment.”

          191.    The statement referenced in ¶¶190 regarding the “safe and humane environment”

   of GEO’s ICE facilities was materially false and/or misleading because Defendants misrepresented

   and failed to disclose, knowingly or recklessly disregarded: (i) the June 2018 complaint regarding

   the Aurora Facility’s inadequate health care and the Tenth Circuit’s affirming the certification of

   a class action alleging labor law violations that were part of a series of cases which exposed the

   Company to “tens of millions” in potential damages and as high as $20 million in legal expenses,

   and spurred Senator Warren’s July 24, 2019 letter to the SEC Chairman (¶¶58-60); (ii) the 2018

   and 2019 reports on the Adelanto Facility’s inadequate detainee safety and medical care that led

   to the filing of a class action lawsuit in August 2019 (¶¶61-63); (iii) the July 2019 letter from the

   House Oversight and Reform Committee for information about the deplorable treatment of

   migrants at GEO facilities (¶¶ 73-74); (iv) that they did not have the capital to adequately respond

   to and manage infectious disease outbreaks in its facilities, subjecting residents and employees of




                                                    79
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 80 of 106




   the Company’s facilities to significant health risks as the COVID-19 pandemic progressed; (v) that

   to salvage its dwindling revenue, GEO would exacerbate the spread of COVID-19 in its facilities

   by not reducing populations by releasing detainees at high risk of COVID infection or COVID-

   related health complications and/or not accepting new detainees until ordered by a court; (vi) that

   systemwide inaction in response to potential COVID-19 infections would be the norm at GEO

   facilities, reflecting callous indifference to the safety and well-being of detainees, unless and until

   a court ordered safety measures such as limiting transfers between facilities, cleaning and

   disinfecting common areas and shared items by professionally trained cleaning staff with

   appropriate equipment and supplies, and testing regularly to identify and isolate infected,

   asymptomatic individuals; and (vii) the litany of lawsuits and adverse judicial rulings about their

   mishandling of the COVID-19 crisis (¶¶96-103).

          192.    Regarding GEO’s COVID-19 response procedures, Defendant Zoley boasted

   during the 1Q20 earnings call that:

          From the outset of this global pandemic our corporate, regional and field staff have
          implemented comprehensive steps to address and mitigate the risks of COVID-19
          to all of those in our care and our employees.

          Ensuring the health and safety of all those in our facilities and our employees
          has always been our number one priority. As a longstanding provider of the central
          government services we have the experience for the implementation of best
          practices for the prevention, assessment and the management of infectious diseases.

          All of our facilities operate safely and without overcrowded conditions. All of our
          facilities have access to regular handwashing with clean water and soap, as well as
          ample hygiene and sanitation products. All of our GEO Group Secure facilities
          provide 24/7 access to healthcare.

                                                    ***

          As you’ve heard today, we have taken comprehensive steps to address and
          mitigate the risk of COVID-19 across all of our facilities and programs. Ensuring
          the health and safety of all of those in our care and our employees has always
          been our number one priority.



                                                     80
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 81 of 106




          193.    Declaring that “most of our facilities have had very few or no cases of COVID-19,”

   Defendant Donahue added that his business unit’s policies and procedures were updated to include

   “the implementation of quarantine and cohorting procedures to isolate confirmed and

   presumptive cases of COVID-19, including medical isolation and the use of airborne infection

   isolation rooms,” and the deployment of “specialized sanitation teams to sterilize high-contact

   areas of our facilities and have developed intensive schedules and procedures for the cleaning

   and disinfecting of facility spaces above and beyond normal cleaning activities.”

          194.           Also during the 1Q20 call, analyst Mitra Ramgopal of Sidoti followed up

   asking “you’ve taken a number of steps to improve the safety, etc. and the sanitation. I think you

   mentioned things like daily soap being available, etc. Are those things also just temporary? Or is

   that going to be sort of the norm going forward?”

          195.           In response, Defendant Zoley assured analysts and investors that “we have

   faced these situations on a lesser extent previously where you have outbreaks of mumps or

   measles and people have to be quarantined. And so the in ICE in particular we face these

   situations. We have the procedures. We have the organizational and financial resources to deal

   with these kind of situations.”

          196.    Defendant Schlarb made similar statements about updating the policies and

   procedures of GEO’s residential facilities and GEO Reentry and Youth Services “to include best

   practices for the prevention, assessment and management of COVID-19 including the

   implementation of quarantine and cohorting procedures to isolate confirmed and presumptive

   cases of COVID-19” and “deploy[ing] specialized sanitation teams to sterilize high-contact areas

   of our facilities and have developed special schedules and procedures for the cleaning and

   disinfecting of facility spaces using sanitation products that are proven healthcare-grade




                                                  81
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 82 of 106




   disinfectants.”

           197. The statements referenced in ¶¶192-195 were materially false and/or misleading

   because Defendants misrepresented and failed to disclose the following adverse facts pertaining

   to GEO’s business, operational and financial results, which were known to or recklessly

   disregarded by them: (i) that systemwide inaction in response to potential COVID-19 infections

   would be the norm at GEO facilities, reflecting callous indifference to the safety and well-being

   of detainees, unless and until a court ordered safety measures such as general reducing the

   population, releasing individuals at high-risk of infection or death, limiting transfers between

   facilities, cleaning and disinfecting common areas and shared items by professionally trained

   cleaning staff with appropriate equipment and supplies, and testing regularly to identify and isolate

   infected, asymptomatic individuals; (ii) that GEO had failed miserably at trying to control the well-

   known, understood, and common infections of measles and mumps that had plagued its facilities

   and which demonstrated its procedures and organizational and financial resources were not

   capable of dealing with COVID-19, (iii) that as a result of reduced cash flows, GEO did not have

   sufficient capital to adequately respond to and manage infectious disease outbreaks in its facilities,

   subjecting residents and employees of the Company’s facilities to significant health risks as the

   COVID-19 pandemic progressed; (iv) that to salvage its dwindling revenue, GEO would

   exacerbate the spread of COVID-19 in its facilities through the aforementioned inaction; and (v)

   that as a result of its woefully inadequate response to the COVID-19 pandemic, the Company was

   vulnerable to significant financial and/or reputational harm.

           198. On May 6, 2020, GEO filed a Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended March 31, 2020 (the




                                                    82
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 83 of 106




   “1Q20 10-Q”) which was “duly authorized” by Defendant Evans. With respect to “Litigation,

   Claims and Assessments,” the 1Q20 10-Q stated, in relevant part:

             As previously reported and described in the Company's prior periodic reports,
             including most recently in its Form 10-K for the year ended December 31, 2019,
             former civil immigration detainees at the Aurora Immigration Processing Center
             filed a class action lawsuit on October 22, 2014, against the Company in the
             United States District Court for the District of Colorado (the “Court”). The
             complaint alleges that the Company was in violation of the Colorado Minimum
             Wages of Workers Act and the federal Trafficking Victims Protection Act
             (“TVPA”). The plaintiff class claims that the Company was unjustly enriched
             because of the level of payment the detainees received for work performed at the
             facility, even though the voluntary work program as well as the wage rates and
             standards associated with the program that are at issue in the case are authorized
             by the Federal government under guidelines approved by the United States
             Congress. On July 6, 2015, the Court found that detainees were not employees
             under the Colorado Minimum Wage Order and dismissed this claim. In February
             2017, the Court granted the plaintiff-class’ motion for class certification on the
             TVPA and unjust enrichment claims. The plaintiff class seeks actual damages,
             compensatory damages, exemplary damages, punitive damages, restitution,
             attorneys’ fees and costs, and such other relief as the Court may deem proper. In
             the time since the Colorado suit was initially filed, three similar lawsuits have
             been filed - two in Washington and one in California. In Washington, one of the
             two lawsuits was filed on September 9, 2017 by immigration detainees against
             the Company in the U.S. District Court for the Western District of Washington.
             The second lawsuit was filed on September 20, 2017 by the State Attorney
             General against the Company in the Superior Court of the State of Washington
             for Pierce County, which the Company removed to the U.S. District Court for
             the Western District of Washington on October 9, 2017. In California, a class-
             action lawsuit was filed on December 19, 2017 by immigration detainees against
             the Company in the U.S. District Court Eastern Division of the Central District
             of California. All three lawsuits allege violations of the respective state’s
             minimum wage laws. However, the California lawsuit, like the Colorado suit,
             also includes claims that the Company violated the TVPA and California's
             equivalent state statute. On September 27, 2019, the California plaintiff class
             filed a motion for class certification of both California-based and nationwide
             classes. The Company filed a response to this motion disputing the plaintiff
             class’ right to broad class treatment of the claims at issue. On July 2, 2019, the
             Company filed a Motion for Summary Judgment in the Washington Attorney
             General’s Tacoma lawsuit based on the Company’s position that its legal
             defenses prevent the case from proceeding to trial. The federal court in
             Washington denied the Company’s Motion for Summary Judgment on August
             6, 2019. However, on August 20, 2019, the Department of Justice filed a
             Statement of Interest, which asked the Washington court to revisit its prior denial
             of the Company’s intergovernmental immunity defense in the case. While the



                                                   83
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 84 of 106




           Washington court ultimately elected not to dismiss the case at the time, its order
           importantly declared that the Company’s intergovernmental immunity defense
           was legally viable, to be ultimately determined at trial. Trial for the two
           Washington cases has been continued until sometime past June 2020. The
           Company intends to take all necessary steps to vigorously defend itself and has
           consistently refuted the allegations and claims in these lawsuits. The Company
           has not recorded an accrual relating to these matters at this time, as a loss is
           not considered probable nor reasonably estimable at this stage of the lawsuits.
           The Company establishes accruals for specific legal proceedings when it is
           considered probable that a loss has been incurred and the amount of the loss can
           be reasonably estimated. However, the results of these claims or proceedings
           cannot be predicted with certainty, and an unfavorable resolution of one or more
           of these claims or proceedings could have a material adverse effect on the
           Company’s financial condition, results of operations or cash flows. The
           Company’s accruals for loss contingencies are reviewed quarterly and adjusted
           as additional information becomes available. The Company does not accrue for
           anticipated legal fees and costs but expenses those items as incurred.

           On December 30, 2019, GEO filed a lawsuit for declaratory and injunctive relief
           challenging California’s newly enacted law - Assembly Bill 32 (AB-32) - which
           bars the federal government from engaging GEO or any other government
           contractors to provide detention services for illegal aliens. GEO’s claims, as
           described in the lawsuit, are grounded in authoritative legal doctrine that under
           the Constitution’s Supremacy Clause, the federal government is free from
           regulation by any state. By prohibiting federal detention facilities in California,
           the lawsuit argues AB-32 substantially interferes with the ability of U.S.
           Marshals Service (“USMS”) and ICE to carry out detention responsibilities for
           the federal government. Secondly, because AB-32 creates exceptions to the State
           when using GEO or any government contractors (to alleviate overcrowding),
           California’s statute unlawfully discriminates against the federal government. On
           December 31, 2019, GEO filed its motion for a preliminary injunction
           restraining California’s Governor and Attorney General from enforcing AB-32
           against GEO’s detention facilities on behalf of USMS and ICE. The court
           granted the parties’ joint motion to reschedule the hearing to July 16, 2020.

          The nature of the Company’s business exposes it to various types of third-party
          legal claims or litigation against the Company, including, but not limited to, civil
          rights claims relating to conditions of confinement and/or mistreatment, sexual
          misconduct claims brought by prisoners or detainees, medical malpractice claims,
          product liability claims, intellectual property infringement claims, claims relating
          to employment matters (including, but not limited to, employment discrimination
          claims, union grievances and wage and hour claims), property loss claims,
          environmental claims, automobile liability claims, indemnification claims by its
          customers and other third parties, contractual claims and claims for personal
          injury or other damages resulting from contact with the Company’s facilities,
          programs, electronic monitoring products, personnel or prisoners, including



                                                 84
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 85 of 106




              damages arising from a prisoner’s escape or from a disturbance or riot at a facility.
              The Company accrues for legal costs associated with loss contingencies when
              those costs are probable and reasonably estimable. The Company does not expect
              the outcome of any pending claims or legal proceedings to have a material
              adverse effect on its financial condition, results of operations or cash flows.

          199.       The statements referenced in ¶198 regarding the Company’s legal accruals and

   the materiality of lawsuits against it were materially false and/or misleading because Defendants

   misrepresented and failed to disclose, knowingly or recklessly disregarded, (i) that these series of

   cases alleging violations of the labor laws were “a potentially catastrophic risk to GEO’s ability to

   honor its contracts with the federal government” and exposed the Company to “tens of millions”

   in potential damages and as high as $20 million in legal expenses (¶¶ 59-60) and (ii) that if forced

   to close its facilities by AB-32, GEO “would lose an average of $250 million a year in revenue

   over the next 15 years, plus the $300 million invested in acquiring and setting up those buildings”

   (¶¶214).

          200.     With respect to “Indebtedness,” the 1Q20 10-Q stated, in relevant part:

          A syndicate of approximately 65 lenders participate in our Credit Agreement, six
          of which have indicated that they do not intend to provide new financing to GEO
          but will honor their existing obligations (Refer to Item 1A - Risk Factors included
          in Part I of the Annual Report on Form 10-K for the year ended December 31,2019
          for further discussion. The banks that have withdrawn participation remain
          contractually committed for approximately five years. Additionally, these six
          banks represent less than 25% of our overall borrowing capacity under our Credit
          Agreement and the withdrawal of their participation is not expected to negatively
          impact our financial flexibility. We are also in frequent communication with
          potential new lenders as well as the credit rating agencies who have not changed
          our credit ratings for over 36 months.

          201.     The statement referenced in ¶¶200 about GEO’s financial flexibility was materially

   false and/or misleading because Defendants misrepresented and failed to disclose the following

   adverse facts pertaining to GEO’s business, operational and financial results, which were known

   to or recklessly disregarded by them: (i) that GEO would have to substantially cut its quarterly




                                                      85
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 86 of 106




   dividends because it did not have sufficient alternative sources for capital after big banks like

   JPMorgan, U.S. Bank, WF, BofA, Suntrust, BNP, Fifth Third and PNC stopped financing it and

   New Mexico and Delaware County terminated their contracts because the other big banks would

   likely follow suit; (ii) that as a result of reduced cash flows, GEO did not have the capital to

   adequately respond to and manage infectious disease outbreaks in its facilities, subjecting residents

   and employees of the Company’s facilities to significant health risks as the COVID-19 pandemic

   progressed; (iii) that to salvage its dwindling revenue, GEO would exacerbate the spread of

   COVID-19 in its facilities by not reducing populations by releasing detainees at high risk of

   COVID infection or COVID-related health complications and/or not accepting new detainees until

   ordered by a court; and (iv) that as a result of its woefully inadequate response to the COVID-19

   pandemic, the Company was vulnerable to significant financial and/or reputational harm.

                  The Truth Slowly Emerges

          202.    Before the market opened on March 5, 2019, Bloomberg published an article

   entitled ”JPMorgan Ends Financing of Private Prisons After Criticism,” announcing that as part of

   JPMorgan’s “robust and well-established process to evaluate the sectors that [it] serve[s],” it would

   “no longer bank the private prison-industry,” including GEO and CoreCivic. Reuters also reported

   that “JPMorgan Chase & Co has decided to stop financing private operators of prisons and

   detention centers, which have become targets of protests over Trump administration policies.”

   Other major news outlets ran similar articles over the next couple days, including The New York

   Times on March 6, 2019.

          203.    Then, on March 10, 2019, U.S. Bank told the Washington Post that it had reduced

   its credit exposure to GEO and CoreCivic to “an immaterial amount” and on March 12, 2019,

   during congressional testimony, in response to Congresswoman Ocasio-Cortez asking why WF




                                                    86
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 87 of 106




   was financing companies “involved with the caging of children,” WF CEO Sloan responded that

   it “will exit that relationship.”

           204.    On these revelations, indicating that the Company’s dividend payments may be no

   longer predictable or stable without its usual long-term financing partners, GEO’s share price fell

   over 11%, or $2.58 per share, to close at $20.35 per share on March 8, 2019 after three days of

   heavy trading, and another 5.0%, or $1.03 per share, to close at $19.43 per share on March 14,

   2019 after two days of heavy trading.

           205.    As Forbes reported on March 15, 2019, “[t]he stocks of private prison leaders GEO

   Group and CoreCivic are down 16% and 8%, respectively today since last Tuesday — the day

   when the country’s largest bank, JPMorgan, publicly announced that they will take their money

   out of the private prison industry.”

           206.    Before the market opened on July 11, 2019, NBC News published an article titled

   “House Democrats seek documents from for-profit companies detaining migrants.” On this news,

   indicating political pressure on for-profit prisons, GEO’s share price fell over 6.5%, or $1.33 per

   share, to close at $18.97 per share on July 11, 2019 after a heavy day of trading.

           207.    Then, on July 17, 2019, after the market opened, reputable news sources published

   articles such as “GEO Wants Taxpayers to Foot Bill for Private Prison Exploitation,” revealing

   GEO’s pleas to ICE to help cover litigation costs stating in relevant part, “GEO cannot bear the

   costs of this defense on its own” and “[w]e urgently implore DOJ to take over the defense of these

   lawsuits and reimburse GEO for its costs.” On this news, indicating the Company’s serious

   concern that these lawsuits could have a material effect on its financial condition, results of

   operations or cash flow, GEO’s share price fell over 7.9%, or $1.48 per share, to close at $17.24

   per share on July 19, 2019 after two days of heavy trading.




                                                   87
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 88 of 106




          208.    After the market closed on March 9, 2020, a request for information to GEO about

   the policies and procedures it had “in place to prepare for and manage a potential spread of the

   novel coronavirus among federal prisoners in GEO’s custody and among correctional staff at GEO

   facilities” from Senators Elizabeth Warren, Edward J. Markey, Brian Schatz, Cory A. Booker,

   Amy Klobucher, Tammy Baldwin, Bernard Sanders, Richard Blumenthal, Jeffrey A. Merkley,

   Chris Van Hollen, Kamala D. Harris, Sherrod Brown, Mazie K. Hirono, Tina Smith and Mark R.

   Warner (“3/9/20 Senators’ Letter”) was published on Senator Warren’s website. Quoting a March

   2, 2020 open letter signed by over 450 public health and legal experts and organizations, the 3/9/20

   Senators’ Letter stated that “incarcerated individuals ‘are at special risk of infection, given their

   living situations,’ and ‘may also be less able to participate in proactive measures to keep

   themselves safe, and infection control is challenging in these settings.’”

          209.    On the next day, March 10, 2020, the Philadelphia Inquirer reported that after two

   decades of operating the Delaware County Prison, Pennsylvania’s only privatized county prison,

   GEO suggested December 31, 2020 as the termination date of its current five-year, $259 million

   contract. GEO’s request came after Delaware County took the preliminary step toward ending the

   contract in February 2020 by voting to commission a study on what was needed to transition the

   Delaware County Prison back to being publicly run.

          210.    In response to the revelation on March 9 regarding the special risk of COVID-19

   in GEO’s facilities and on March 10 regarding GEO’s loss of a contract worth over $200 million

   in future revenue, the Company’s share price plummeted over 29% after two days of heavy

   trading. As reported on March 11, 2020, because “[p]eople held in immigration detention centers

   may be particularly vulnerable to the new coronavirus as it spreads across the U.S.,” immigration

   attorneys questioned whether such centers – including the GEO-operated Aurora Facility,




                                                    88
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 89 of 106




   Adelanto Facility and Karnes family detention center in Texas were prepared to safeguard

   detainees’ health and access to counsel.58

          211.    Before the market opened on June 17, 2020, CoreCivic announced that its Board of

   Directors was reevaluating its “corporate structure and capital allocation alternatives” and

   “suspend[ing] the Company’s quarterly dividend.” The revelation that CoreCivic was suspending

   its dividend and may be dropping its REIT structure indicated that GEO likely would also be

   suspending or at least cutting its dividend.

          212.    In addition, The Intercept published an article during pre-market hours on June 17,

   2020 entitled “GEO Group’s Blundering Response to the Pandemic Helped Spread Coronavirus

   in Halfway Houses.” The article reported details of a significant COVID-19 outbreak at the

   Grossman Center, a halfway house operated by GEO in Leavenworth, Kansas which “was for

   weeks the hardest hit federal halfway house in the country” in terms of confirmed COVID-19

   cases. Citing interviews with residents of the Grossman Center, The Intercept reported “that the

   virus spread not in spite of the facility’s efforts to contain it, but because of it” and that GEO’s

   “blundering” response included keeping residents in overcrowded conditions without enforcing

   personal protective measures even as COVID-19 diagnoses at the facility increased.

          213.    In response to the news about the suspension of CoreCivic’s dividend, the

   coronavirus outbreaks in GEO’s facilities, and GEO’s mishandling of the pandemic, the

   Company’s stock price fell over 10%, or $1.37 per share, to close at $11.83 per share on June 19,

   2020 after two days of heavy trading.

          214.    On July 16, 2020, major news sources including the LA Times reported that a

   federal judge had issued a tentative ruling that largely upheld California’s ban on private prison


   58
     Suzanne Monyak, Attys Fear Coronavirus Spread In Immigration Detention (3/11/20),
   https://www.law360.com/articles/1251570/attys-fear-coronavirus-spread-in-immigration-detention-


                                                    89
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 90 of 106




   contracts, Assembly Bill (“AB”) 32, concluding that “AB 32 does not unconstitutionally

   discriminate against the federal government or its contractors.” If forced to close its facilities by

   AB-32, GEO claimed “it would lose an average of $250 million a year in revenue over the next 15

   years, plus the $300 million invested in acquiring and setting up those buildings.” Several other

   major news sources published related articles that day and the next.

           215.    On this news, GEO’s stock price fell over 5.4% or $0.66 per share, to close at

   $11.49 per share on July 17, 2020 after two days of heavy trading.

           216.    On August 6, 2020, major news sources began reporting that a federal court had

   ordered GEO and ICE to conduct weekly, rapid-result COVID-19 tests at the Mesa Verde Facility

   and found that authorities had shown “deliberate indifference to the risk of an outbreak of COVI-

   19. over their arguments regarding insufficient testing supplies. The court further noted that

   authorities had “avoided widespread testing . . . not for lack of tests, but for fear that positive test

   results would require them to implement safety measures that they apparently felt were not worth

   the trouble.” Several major news sources published related articles that day and the next.

           217.    Then, before the market opened on August 6, 2020, the full truth was revealed when

   GEO announced a nearly 30% reduction in its quarterly dividend from $0.48 per share to $0.34

   per share – just enough to allow GEO to remain structured as a publicly traded REIT. In response

   to the news confirming GEO’s cavalier approach to inmate health in the face of COVID-19 and

   announcing the dividend cut, GEO’s stock price fell $0.77 per share, or nearly 7%, to close at

   $10.67 per share on August 7, 2020 after two days of heavy trading.

   V.      ADDITIONAL ALLEGATIONS SUPPORTING SCIENTER

           218.    Defendants’ material misstatements and omissions, as alleged above, were made

   intentionally, knowingly, and/or with deliberate recklessness. Those material misstatements and

   omissions had the purpose and effect of concealing the adverse truth about GEO’s true operations,


                                                     90
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 91 of 106




   performance, finances, and prospects from the investing public, consequently buoying and

   artificially inflating the trading price of GEO’s common stock. In addition to the foregoing

   allegations which adequately demonstrate scienter alone, the following facts, further demonstrate

   the strong inference that Defendants’ false statements and material omissions were made with

   actual knowledge of their falsity or with severe recklessness, i.e., scienter.

          219.    First, in a letter sent in the middle of the Class Period to the Chairman of the SEC,

   Warren has already accused GEO’s executives, including Defendant Zoley, of having direct

   knowledge of, while misrepresenting to investors, the financial issues arising from the operational

   deficiencies and increasing scrutiny faced by GEO:

          Despite significant ongoing legal concerns, GEO has made a series of public
          statements through earnings calls and filings with the Securities and Exchange
          Commission (SEC) that differ dramatically from the non-public communications
          by corporate executives.

   That letter, without more, establishes that GEO’s executives had knowledge—i.e., that they

   monitored and communicated, both internally and externally, about the lawsuits and public

   scrutiny that arose from operational deficiencies. Accordingly, when speaking about GEO’s

   operations, lender relationships, and stable, predictable cash flows and dividends, Defendants

   knew of (or, at least were severely reckless as to) the realities alleged herein.

          220.    Second, as exemplified by Senator’s Warren letter, Defendants’ conduct involved

   scrutiny from the highest levels of the United States government. Defendants misrepresented and

   omitted the degree and effects that the increasing government scrutiny had on GEO’s ability to

   generate cash flows, maintain financing relationships with key lenders, and continue paying stable,

   predictable dividends. Given the high-profile sources of the scrutiny, GEO’s leadership—

   including its CEO, CFO, SVPs, and Presidents of subsidiaries—were aware of those facts (or

   severely reckless in purposefully ignoring those facts).



                                                     91
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 92 of 106




          221.    During the Class Period, for example, the heightening scrutiny on GEO’s

   operations involved:

          •       the 2018 public refusal by every major Democratic candidate for Florida
                  governor to accept GEO’s money and Florida Democratic Party’s banning
                  of all donations from private-prison firms

          •       the March 12, 2019 questions by Congresswoman Ocasio-Cortez to WF’s
                  CEO regarding the bank’s financing of private prison companies like GEO;

          •       the May 2019 bill by Congressman Crow to require immigration detention
                  facilities, including all operated by GEO, to comply with site inspection
                  requests from members of Congress within 48 hours;

          •       the May and June 2019 reports by the DHS OIG regarding unsafe and
                  unhealthy conditions at multiple GEO facilities;

          •       the July 2019 letter from Senator Warren to the SEC Chairman;

          •       July 2019 letter from the House Oversight and Reform Committee
                  demanding documents and communications pertaining to government
                  contracts, amid reports of the deplorable treatment of migrants at the
                  southern border;

          •       the October 2019 law AB-32 enacted in California barring the federal
                  government from “enter[ing] into a contract with a private, for profit prison
                  facility located in or outside the state”;

          •       the March 9, 2020, Senators’ Letter requesting information from GEO about
                  its ability to respond to COVID-19;

   If the Individual Defendants knew of these high-profile incidents, then they have the requisite

   knowledge to show scienter. If the Individual Defendants did not know, then they purposefully

   ignored material information occurring at the highest level of the United States government and

   affecting GEO’s business. Such ignorance by GEO’s executives would be severely reckless and,

   therefore, show scienter.

          222.    In any case, Defendant Zoley’s direct letter to ICE on May 30, 2018, shows his

   knowledge, specifically that “[w]e are deeply alarmed at the rapidly increasing costs in defending

   these lawsuits without reimbursement from ICE, or assistance in their defense by the Department


                                                   92
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 93 of 106




   of Justice (DOJ).” Moreover, Defendants’ receipt of the 3/9/20 Senators’ Letter confirms that

   Defendants were aware of the material issues arising from GEO facilities’ preparations and

   abilities to protect their wards during the COVID-19 pandemic. Indeed, on March 12, 2020, GEO

   responded to the Senators’ Letter, confirming that they were “fully aware of the emerging health

   concerns presented by COVID-19” and emphasizing GEO’s purported “long-standing history of

   providing safe, secure, and humane conditions at all of its facilities.” Additionally, on July 13,

   2020, Zoley testified before Congress’ Border Security, Facilitation & Operations Subcomittee at

   a hearing titled “Oversight of ICE Detention Facilities: Examining ICE Contractors’ Response to

   COVID-19.” At the hearing, Chairwoman Kathleen Rice stated that “over the past few months, it

   is clear that ICE and its contractors have not taken this outbreak seriously and have not treated it

   aggressively enough” and that “[d]espite . . . horrific losses, ICE is continuing normal operations

   and contractors are following in lock step.” Defendant Zoley then testified about whether GEO

   was properly responding to the COVID-19 outbreak. Defendant Zoley’s preparation to testify and

   testimony before Congress indicate that he prepared himself and had direct knowledge of these

   topics. If he did not have direct knowledge, then he was severely reckless in testifying before

   Congress without such knowledge. Thus, Defendants had direct knowledge of (or, at a minimum,

   were severely reckless as to) the issues identified herein.

          223.    Third, the Individual Defendants repeatedly spoke to investors about the precise

   issues alleged herein. Throughout the Class Period, Defendant Zoley consistently touted GEO’s

   cash flows and dividends as “stable,” “sustainable,” “predictable,” and “safe,” notwithstanding

   GEO’s true state of affairs vis-à-vis operational deficiencies, increasing scrutiny, loss of lenders,

   and threatened dividends. During the increasing scrutiny in 2019, Defendant Zoley told investors

   that “a false narrative and deliberate mischaracterization of our long-standing role as a quality




                                                    93
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 94 of 106




   service provider to ICE” were driving “the recent media stories regarding overcrowded border

   patrol facilities and financial institutions discontinuing future financial support for private

   operators of ICE Processing Centers.” As COVID-19 emerged and pressured GEO’s operations

   already plagued with systemic medical deficiencies, Defendant Zoley once again demonstrated

   awareness and knowledge, assuring investors that “GEO had implemented comprehensive steps

   to address and mitigate the risks of COVID-19 to all of those in our care and our employees.”

          224.    Defendant Evans also repeatedly ensured investors regarding GEO’s “stable,”

   “sustainable,” and “predictable” cash flows. Defendant Evans attributed heightened scrutiny on

   GEO as “based on a mischaracterization of our role as a service provider and our overall Company

   record,” and he conveyed that there was “misinformation regarding our banking partners and our

   access to capital”

          225.    Defendant Donahue spoke about the specific contracts for GEO facilities that that,

   because of the issues alleged herein, faced increased scrutiny and/or termination. As to COVID,

   moreover, he demonstrated direct knowledge, describing “the implementation of quarantine and

   cohorting procedures” and the deployment of “specialized sanitation teams to sterilize high-

   contact areas.”

          226.    Defendant Schlarb similarly described to investors GEO’s “best practices for the

   prevention, assessment and management of COVID-19.”

          227.    Those comments indicate that the Individual Defendants had knowledge (or severe

   recklessness as to the accuracy) of GEO’s operations, public scrutiny, ability to address COVID-

   19 and, in turn, the stability and predictability of cash flows and dividend amount.

          228.    Fourth, these were the precise issues that other company executives in the private

   prison sector were addressing. In a May 7, 2020, earnings conference call, for example, CEO




                                                   94
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 95 of 106




   Damon Hininger of GEO’s peer company, CoreCivic, openly addressed the negative effects of

   decreased facility population due to COVID-19 and the loss of government contracts, noting that

   the government’s reduction in utilization of the company’s facilities “has a material effect on our

   near term earnings,” and that CoreCivic would not provide financial guidance for the second

   quarter of 2020 “due to the uncertainties around the length of the COVID-19 pandemic, the timing

   and pace of the recovery, and policy choices by federal, state and local governments.” CoreCivic

   subsequently acknowledged the “unprecedented challenges posed by the COVID-19 pandemic,”

   the fact that “capital has become increasingly expensive,” and the prison giant’s need to look for

   approaches that would improve the company’s “credit profile and long-term cost of capital.” The

   statements of CoreCivic and its executives demonstrate that industry leaders had knowledge of the

   problems plaguing private prison operators, as well as the financial effect these problems would

   have on the companies and their dividends. This openly addressed knowledge supports an

   inference that the Individual Defendants had knowledge of the true state of GEO’s business (or, at

   a minimum, were severely reckless as to those facts) when they made the false and misleading

   statements and omissions to investors.

          229.    Fifth, shareholders actually raised the operational deficiencies to GEO’s Board and

   executives, meaning the Individual Defendants and, in turn, the Company had direct knowledge

   of the violations giving rise to public scrutiny, loss of lenders, loss of contracts, and instability

   with cash flows and dividends. In July 2018, CalSTRS representatives began visiting GEO’s

   facilities and conducting meetings with GEO’s senior management concerning their operational

   processes and risk management efforts. Based on that investigation, CalSTRS had voted by

   November 2018 to remove all of its holdings from GEO. Thereafter, in response to a May 2019

   shareholder initiative, GEO issued a September 2019 report on the conditions in its facilities and




                                                    95
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 96 of 106




   operational issues. Thus, GEO’s management had direct knowledge of the issues alleged herein

   yet continued to misrepresent material facts to investors.

          230.    These collective allegations show that the Individual Defendants, as well GEO’s

   other executives, had direct knowledge of the true state of GEO’s business (or, at a minimum, were

   severely reckless as to those facts). When providing materially false or misleading information to

   investors and/or making material omission, therefore, Defendants had the requisite scienter to be

   held liable to those investors who suffered losses.

   VI.    NO SAFE HARBOR

          231.    The statutory safe harbor provided for forward-looking statements under certain

   circumstances does not apply to any of the allegedly misleading statements pleaded in the

   Consolidated Complaint. Many of the specific statements pleaded herein were not identified as

   “forward-looking statements” when made. To the extent that there were any forward-looking

   statements, there were no meaningful cautionary statements identifying important factors that

   could cause actual results to differ materially from those in the purportedly forward-looking

   statements. Alternatively, to the extent that the statutory safe harbor does apply to any forward-

   looking statements pleaded herein, Defendants are liable for those misleading forward-looking

   statements because at the time that each of those forward-looking statements were made, the

   particular speaker knew that the particular forward-looking statement was misleading, and/or the

   forward-looking statement was authorized and/or approved by an GEO executive officer who

   knew that those statements were misleading when made.

   VII.   LOSS CAUSATION

          232.    The false and misleading misrepresentations and material omissions, as alleged

   herein, directly and proximately caused the economic loss suffered by Plaintiffs and the Class

   members they represent.


                                                   96
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 97 of 106




          233.    During the Class Period, Plaintiffs and Class members purchased GEO common

   stock at artificially inflated prices and were damaged thereby. The price of the Company’s

   securities declined significantly when the misrepresentations made to the market, and/or the

   information alleged herein to have been concealed from the market, and/or the effects thereof,

   were disseminated and publicly revealed.

          234.    During the Class Period, Defendants materially misled the investing public, thereby

   inflating the price of GEO common stock, by publicly issuing false and/or misleading statements

   and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

   herein, not false and/or misleading. The statements and omissions were materially false and/or

   misleading because they failed to disclose material adverse information and/or misrepresented the

   truth about GEO’s business, operations, and financial performance, as alleged herein.

          235.    At all relevant times, the material misrepresentations and omissions particularized

   in this Complaint directly or proximately caused or were a substantial contributing cause of the

   damages sustained by Plaintiffs and other members of the Class. Defendants made or caused to be

   made materially false and/or misleading statements about GEO’s financial results, internal controls

   and related financial metrics and the reliability of their reported results. These material

   misstatements and/or omissions had the cause and effect of creating in the market a false positive

   assessment of the Company and its financial performance, internal controls and related well-being,

   thus causing the Company’s securities to be overvalued and the price of its common stock to be

   artificially inflated at all relevant times. Defendants’ materially false and/or misleading statements,

   as alleged herein, resulted in Plaintiffs and other members of the Class in purchasing the

   Company’s securities at artificially inflated prices, thus causing the damages complained of herein

   when the truth was revealed in a series of corrective disclosures – including those on March 5,




                                                     97
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 98 of 106




   2019, March 10, 2019, March 12, 2019, July 11, 2019, July 17, 2019, March 9-10, 2020, June 17,

   2020, July 16, 2020 and August 6, 2020 – causing the trading price of GEO common stock to

   materially decline, and removing the previously embedded artificial inflation.

   VIII. PLAINTIFFS’ CLASS ACTION ALLEGATIONS

           236.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all persons or entities that purchased

   or otherwise acquired GEO common stock during the Class Period and were damaged thereby.

   Excluded from the Class are Defendants herein, the officers and directors of the Company, at all

   relevant times, members of their immediate families and their legal representatives, heirs,

   successors or assigns and any entity in which Defendants have or had a controlling interest.

           237.    The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, GEO common stock was actively traded on the

   NYSE. While the exact number of Class members is unknown to Plaintiffs at this time and can be

   ascertained only through appropriate discovery, Plaintiffs believe that there are hundreds or

   thousands of members in the proposed Class. Record owners and other members of the Class may

   be identified from records maintained by GEO or its transfer agent and may be notified of the

   pendency of this action by mail, using the form of notice similar to that customarily used in

   securities class actions.

           238.    Plaintiffs’ claims are typical of the claims of the members of the Class as all

   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

   federal law that is complained of herein.

           239.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

   and have retained counsel competent and experienced in class and securities litigation. Plaintiffs

   have no interests antagonistic to or in conflict with those of the Class.


                                                     98
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 99 of 106




          240.    Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

          a.      whether the federal securities laws were violated by Defendants’ acts as alleged

                  herein;

          b.      whether statements made by Defendants to the investing public during the Class

                  Period misrepresented material facts about the business, operations and

                  management of GEO;

          c.      whether the Individual Defendants caused GEO to issue false and misleading

                  financial statements during the Class Period;

          d.      whether Defendants acted knowingly or recklessly in issuing false and misleading

                  financial statements;

          e.      whether the prices of GEO common stock during the Class Period were artificially

                  inflated because of the Defendants’ conduct complained of herein; and

          f.      whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

          241.    A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden

   of individual litigation make it impossible for members of the Class to individually redress the

   wrongs done to them. There will be no difficulty in the management of this action as a class action.

          242.    Plaintiffs will rely, in part, upon the presumption of reliance established by the

   fraud-on-the-market doctrine in that:




                                                   99
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 100 of 106




           a. Defendants made public misrepresentations or failed to disclose material facts during

               the Class Period;

           b. the omissions and misrepresentations were material;

           c. GEO common stock is traded in an efficient market;

           d. the Company’s shares were liquid and traded with moderate to heavy volume during

               the Class Period;

           e. the Company traded on the NYSE and was covered by multiple analysts;

           f. the misrepresentations and omissions alleged would tend to induce a reasonable

               investor to misjudge the value of the Company’s securities; and

           g. Plaintiffs and members of the Class purchased, acquired and/or sold GEO common

               stock between the time the Defendants failed to disclose or misrepresented material

               facts and the time the true facts were disclosed, without knowledge of the omitted or

               misrepresented facts.

           243.    Based upon the foregoing, Plaintiffs and the members of the Class are entitled to a

   presumption of reliance upon the integrity of the market.

           244.    Alternatively, Plaintiffs and the members of the Class are entitled to the

   presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of

   Utah v. U.S., 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

   their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                                COUNT I
                       Violations of § 10(b) of the Exchange Act and Rule 10b-5
                                         Against All Defendants

           245.    Plaintiffs repeat and reallege each and every allegation contained in ¶¶1-245 as if

   fully set forth herein.

           246.    This Count is asserted against Defendants is based upon § 10(b) of the Exchange


                                                   100
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 101 of 106




   Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          247.    During the Class Period, Defendants, individually and in concert, directly or

   indirectly, disseminated or approved the false statements specified above, which they knew or

   deliberately disregarded were misleading in that they contained misrepresentations and failed to

   disclose material facts necessary in order to make the statements made, in light of the

   circumstances under which they were made, not misleading.

          248.    Defendants violated §10(b) of the Exchange Act and Rule 10b-5 in that they:

          a. employed devices, schemes and artifices to defraud;

          b. made untrue statements of material facts or omitted to state material facts necessary in

              order to make the statements made, in light of the circumstances under which they were

              made, not misleading; or

          c. engaged in acts, practices and a course of business that operated as a fraud or deceit

              upon Plaintiffs and others similarly situated in connection with their purchases of GEO

              common stock during the Class Period.

          249.    Defendants acted with scienter in that they knew that the public documents and

   statements issued or disseminated in the name of GEO were materially false and misleading; knew

   that such statements or documents would be issued or disseminated to the investing public; and

   knowingly and substantially participated, or acquiesced in the issuance or dissemination of such

   statements or documents as primary violations of the securities laws. These defendants by virtue

   of their receipt of information reflecting the true facts of GEO, their control over, and/or receipt

   and/or modification of GEO’s allegedly materially misleading statements, and/or their associations

   with the Company which made them privy to confidential proprietary information concerning

   GEO, participated in the fraudulent scheme alleged herein.




                                                   101
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 102 of 106




          250.     Individual Defendants, who are the senior officers and/or directors of the

   Company, had actual knowledge of the material omissions and/or the falsity of the material

   statements set forth above, and intended to deceive Plaintiffs and the other members of the Class,

   or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

   disclose the true facts in the statements made by them or other GEO personnel to members of the

   investing public, including Plaintiffs and the Class.

          251.    As a result of the foregoing, the market price of GEO common stock was artificially

   inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiffs

   and the other members of the Class relied on the statements described above and/or the integrity

   of the market price of GEO common stock during the Class Period in purchasing GEO common

   stock at prices that were artificially inflated as a result of Defendants’ false and misleading

   statements.

          252.    Had Plaintiffs and the other members of the Class been aware that the market price

   of GEO common stock had been artificially and falsely inflated by Defendants’ misleading

   statements and by the material adverse information which Defendants did not disclose, they would

   not have purchased GEO common stock at the artificially inflated prices that they did, or at all.

          253.     As a result of the wrongful conduct alleged herein, Plaintiffs and other members

   of the Class have suffered damages in an amount to be established at trial.

          254.    By reason of the foregoing, Defendants have violated § 10(b) of the Exchange Act

   and Rule 10b-5 promulgated thereunder and are liable to Plaintiffs and the other members of the

   Class for substantial damages which they suffered in connection with their purchase of GEO

   common stock during the Class Period.




                                                   102
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 103 of 106




                                               COUNT II
                               Violations of § 20(a) of the Exchange Act
                                  Against the Individual Defendants

           255.    Plaintiffs repeat and reallege each and every allegation contained in ¶¶1-245 as if

   fully set forth herein.

           256.    During the Class Period, the Individual Defendants participated in the operation

   and management of GEO, and conducted and participated, directly and indirectly, in the conduct

   of GEO’s business affairs. Because of their senior positions, they knew the adverse non-public

   information about GEO’s current financial position and future business prospects.

           257.    As officers and/or directors of a publicly owned company, the Individual

   Defendants had a duty to disseminate accurate and truthful information with respect to GEO’s

   business practices, and to correct promptly any public statements issued by GEO which had

   become materially false or misleading.

           258.    Because of their positions of control and authority as senior officers, the Individual

   Defendants were able to, and did, control the contents of the various reports, press releases and

   public filings which GEO disseminated in the marketplace during the Class Period concerning the

   Company’s business, operational and accounting policies. Throughout the Class Period, the

   Individual Defendants exercised their power and authority to cause GEO to engage in the wrongful

   acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

   GEO within the meaning of § 20(a) of the Exchange Act. In this capacity, they participated in the

   unlawful conduct alleged which artificially inflated the market price of GEO common stock.

           259.    Each of the Individual Defendants, therefore, acted as a controlling person of GEO.

   By reason of their senior management positions and/or being directors of GEO, each of the

   Individual Defendants had the power to direct the actions of, and exercised the same to cause,

   GEO to engage in the unlawful acts and conduct complained of herein. Each of the Individual


                                                    103
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 104 of 106




   Defendants exercised control over the general operations of GEO and possessed the power to

   control the specific activities which comprise the primary violations about which Plaintiffs and the

   other members of the Class complain.

          260.    By reason of the above conduct, the Individual Defendants are liable pursuant to §

   20(a) of the Exchange Act for the violations committed by GEO.

                                       PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

      A. Determining that the instant action may be maintained as a class action under Rule 23 of

          the Federal Rules of Civil Procedure, and certifying Plaintiffs as the Class representatives;

      B. Requiring Defendants to pay damages sustained by Plaintiffs and the Class by reason of

          the acts and transactions alleged herein;

      C. Awarding Plaintiffs and the other members of the Class prejudgment and post-judgment

          interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

      D. Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

          Plaintiffs hereby demand a trial by jury.

    Dated: November 17, 2020                          Respectfully submitted,

                                                      ROCHE CYRULNIK FREEDMAN LLP

                                                      /s/ Velvel (Devin) Freedman
                                                      Velvel (Devin) Freedman (FL# 99762)
                                                      Ivy T. Ngo (pro hac vice)
                                                      Constantine P. Economides (FL# 118177)
                                                      Southeast Financial Center
                                                      200 S. Biscayne Blvd. Suite 5500
                                                      Miami, FL 33131
                                                      Telephone: (305) 851-5997
                                                      Emails: vel@rcfllp.com
                                                               ingo@rcfllp.com



                                                   104
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 105 of 106




                                                 ceconomides@rcfllp.com

                                          LEVI & KORSINSKY, LLP
                                          Nicholas I. Porritt
                                          Adam M. Apton
                                          1101 30th Street NW, Suite 115
                                          Washington, DC 20007
                                          Tel: (202) 524-4290
                                          Fax: (202) 333-2121
                                          Emails: nporritt@zlk.com
                                               aapton@zlk.com

                                          Co-Lead Counsel for the Class

                                          CULLIN O’BRIEN LAW, P.A.
                                          Cullin O’Brien (FL# 0597341)
                                          6541 NE 21st Way
                                          Fort Lauderdale, Florida 33308
                                          Tel: (561) 676-6370
                                          Fax: (561) 320-0285
                                          E-mail: cullin@cullinobrienlaw.com

                                          Additional Counsel for Lead Plaintiff James
                                          Michael DeLoach

                                          THE SCHALL LAW FIRM
                                          Brian Schall (pro hac vice forthcoming)
                                          1880 Century Park East, Suite 404
                                          Los Angeles, CA 90067
                                          Telephone: (424) 303-1964
                                          Email: brian@schallfirm.com

                                          Additional Counsel for Lead Plaintiff Edward
                                          Oketola




                                        105
Case 9:20-cv-81063-RS Document 33 Entered on FLSD Docket 11/18/2020 Page 106 of 106




                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 17, 2020, I authorized the electronic filing of the

   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

   such filing to the e-mail addresses denoted on the attached Electronic Mail Notice List.



                                                /s/ Velvel (Devin) Freedman
                                                Velvel (Devin) Freedman




                                                  106
